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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

                                                      :
                                                      :
             IN RE CAMP LEJEUNE NORTH                 :    MULTIDISTRICT LITIGATION
             CAROLINA WATER                           :    NO. 1:11-MD-2218-TWT
             CONTAMINATION LITIGATION                 :

                                         OPINION AND ORDER

                   This matter is before the Court on the Government’s motion for order relating

             to the preservation of documents and electronically stored information [37]; the

             Government’s motion to dismiss [61]; the Government’s motion to dismiss for lack

             of subject-matter jurisdiction [62]; the Plaintiffs’ motion for oral argument [72];

             Plaintiff Bryant’s motion to amend complaint [77]; the Plaintiffs’ motion for

             extension of time to complete discovery and to stay [83]; Plaintiff Johnston’s pro se

             motion to amend [97]; Plaintiff Douse’s pro se motion for reconsideration [117];

             Plaintiff Straw’s pro se motion for clerk’s entry of default [121]; Plaintiff Douse’s

             pro se motion to amend [123]; Plaintiff Wright’s motion to amend complaint [126];

             the Government’s motion to dismiss all cases based on North Carolina statute of

             repose [127]; Plaintiff Douse’s pro se motion for punitive and exemplary damages

             [143]; the Government’s motion to strike [152]; Plaintiff Douse’s pro se motion for

             additional award of damages, for relief based on Bivens, and for a protective order

             [156]; Plaintiff Bryant’s supplemental motion to amend [164]; Plaintiff Straw’s pro

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             se motion for permanent injunction [165]; Plaintiff Straw’s pro se fourth motion for

             clerk’s entry of default [169]; the Government’s motion for protective order [172];

             the Plaintiffs’ motion to transfer pursuant to 28 U.S.C. § 1631 or motion for

             conditional suggestion of remand [176]; Plaintiff Straw’s pro se first motion for

             clerk’s entry of default [178]; the Plaintiffs’ motion for a hearing [188]; and Plaintiff

             Straw’s pro se motion for refund and further relief [192].

             I.     Procedural History

                    In this Multidistrict Litigation (MDL), the Plaintiffs are service members

             and/or their family members who allege they were exposed to toxic substances in the

             water supply while living at Marine Corps Base Camp Lejeune in North Carolina.

             The Plaintiffs further contend that the United States failed to monitor the quality of

             the water supply at Camp Lejeune and failed to provide notice to the Plaintiffs

             concerning the presence of toxic substances in the water supply. The Plaintiffs allege

             that they have suffered illnesses or death as a result of the actions of the United States

             and bring their actions pursuant to the Federal Tort Claims Act (“FTCA”), 28 U.S.C.

             §§ 2671-2680. There are currently seventeen cases in the MDL and, although the

             potential number of plaintiffs is not known, there are currently over 4,000 claimants

             in the administrative process with the Department of the Navy.




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                   Given the amount of time that has passed since it has addressed substantive

             matters, the court finds it useful to give a summary of the course of the litigation to

             this point. When the Multidistrict Litigation was formed, the court held a scheduling

             conference. After hearing from the parties, the court determined that the most

             efficient course of action would be to first address two threshold legal questions: (1)

             whether the limitations period contained in the Comprehensive Environmental

             Response Compensation and Liability (“CERCLA”) preempted the North Carolina

             statute of repose; and (2) whether the North Carolina statute of repose had an

             exception for latent diseases.1 Answering these two questions has taken the better

             part of five years.

                   Because the court determined that threshold legal issues needed to be addressed

             first, the court did not call for the filing of an omnibus complaint.2 But the court did

             permit discovery on the Feres doctrine and the Federal Tort Claims Act discretionary




                   1
                          See Doc. No. [11], Transcript, April 19, 2011.
                   2
                          See Doc. No. [24] (court noted that “allowing for consolidated motions
             (and responses) applying these legal arguments to all current Plaintiffs in this MDL
             will afford the parties an opportunity to effectively brief these issues without
             duplication and will afford the court an opportunity to issue clear rulings on each
             legal argument that can guide the future of this MDL”).
                                                        3

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             function exception.3 The parties had briefed motions to dismiss based on these two

             theories.4 Those motions are still pending.

                   In an order dated September 29, 2011, the court held that although a plain

             reading of 42 U.S.C. § 9658 of CERCLA might counsel a different result, based on

             the purpose of CERCLA as a remedial statute, section 9658 preempted both statutes

             of limitation and statutes of repose.5 Therefore, the court found that the applicable

             North Carolina statute of repose contained in North Carolina General Statute § 1-

             52(16) barred claims from accruing more than ten years from the last act giving rise

             to the cause of action would not apply to the Plaintiffs. A consequence of this

             holding was that the court did not then need to consider whether North Carolina’s

             statute of repose contained an exception for latent disease. However, the Government

             then asked the court to rule on this alternative ground so that the parties could take

             an interlocutory appeal to the United States Court of Appeals for the Eleventh Circuit

             on both legal rulings. The court agreed to do so and permitted the parties to brief the




                   3
                          See Doc. No. [24] (directing 60 day period of discovery on FTCA’s
             discretionary function exception and Feres doctrine and staying discovery as to all
             other matters).
                   4
                          See Doc. Nos. [61] and [62].
                   5
                          See Doc. No. [13].
                                                       4

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             matter of a latent disease exception.6 In an order dated May 11, 2012, the court held

             that the statute of repose in North Carolina General Statute § 1-52(16) did not contain

             an exception for latent diseases.7

                   The Government then filed a motion for permission to file an interlocutory

             appeal pursuant to 28 U.S.C. § 1292(b).8 The court granted that motion.9 The Court

             of Appeals accepted the appeal on October 31, 2012,10 which was docketed as Bryant

             v. United States, and held oral argument in the case on January 17, 2014. However,

             just days prior to the argument, the United States Supreme Court granted certiorari

             in CTS Corp. v. Waldburger, No. 13-339, which would be directly controlling

             authority on the issue of CERCLA preemption. The Court of Appeals held its ruling

             to await the Supreme Court’s opinion in Waldburger.

                   On June 9, 2014, the Supreme Court held that CERCLA section 9658 did not

             preempt North Carolina’s statute of repose.11 The Eleventh Circuit then took up the



                   6
                          See Doc. No. [49].
                   7
                          See Doc. No. [68].
                   8
                          See Doc. No. [81].
                   9
                          See Doc. No. [87].
                   10
                          See Doc. No. [89].
                   11
                          See CTS Corp. v. Waldburger, ___ U.S. ___, 134 S. Ct. 2175 (2014).
                                                       5

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             parties’ appeal. In its opinion, the Court of Appeals recognized the Supreme Court’s

             holding in Waldburger as answering the first question and therefore turned to the

             second question – whether the North Carolina statute of repose includes an exception

             for latent disease.12 Based on the statute as it existed when the Plaintiffs brought their

             cases, the Court of Appeals found that the statutory language was unambiguous and

             did not contain an exception for latent disease.13

                   The Eleventh Circuit recognized, however, that shortly after the Supreme Court

             issued its decision in Waldburger, the North Carolina legislature amended the statute

             of repose to add the following language: “The 10-year period set forth in G.S. 1-

             52(16) shall not be construed to bar an action for personal injury, or property

             damages caused or contributed to by . . . the consumption, exposure, or use of water

             supplied from groundwater contaminated by a hazardous substance, pollutant, or

             contaminant.”14 The General Assembly specified that this amendment applied to any

             actions “filed, arising, or pending” on or after June 20, 2014.15 Nevertheless, the

             Court of Appeals found that the amendment should not apply retroactively because



                   12
                          See Bryant v. United States, 768 F.3d 1378 (11th Cir. 2014).
                   13
                          Id. at 1381.
                   14
                          Id. at 1381-82 (quoting N.C. Gen. Stat. Ann. § 130A-26.3).
                   15
                          Id. at 1382.
                                                         6

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             it “substantively amended the statute of repose to create an exception for groundwater

             contamination and, as a result, can only apply prospectively, lest [the amendment]

             divest the Government of a vested right.”16 The Court of Appeals then remanded the

             case.

                     This court accepted the order as mandate and held a Scheduling Conference on

             February 25, 2015, during which the Plaintiffs indicated they intended to seek

             certiorari as to the Eleventh Circuit’s ruling in Bryant.17 The Supreme Court denied

             the Plaintiffs’ petition for writ of certiorari.18 The court held another Scheduling

             Conference on January 6, 2016. During that conference, the court directed the

             Government to file a motion to dismiss based on the Eleventh Circuit’s holding in

             Bryant.19 In addition to responding to the Government’s motion, the Plaintiffs have

             filed numerous motions to amend their complaints, as well as a motion to transfer or

             remand the Multidistrict Litigation.




                     16
                           Id. at 1385.
                     17
                           See Doc. Nos. [106] and [109].
                     18
                           See 136 S. Ct. 71 (2015).
                     19
                           See Doc. No. [124].
                                                       7

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             II.     Discussion

                     A.    Motion to Transfer or Remand

                           1.     Impact of Stahle and Choice of Law Questions

                     In their motion to transfer, the Plaintiffs essentially ask that the court

             reconsider the outcome of Bryant in light of the Fourth Circuit’s recent ruling in

             Stahle v. CTS Corporation.20 The Plaintiffs’ arguments are premised on a contention

             that the Fourth Circuit’s holding in Stahle is in conflict with the Eleventh Circuit’s

             ruling in Bryant. In Stahle, the plaintiff filed a negligence action alleging that his

             leukemia was caused by his exposure to toxic solvents when he was a child. The

             Fourth Circuit considered the scope of North Carolina General Statute § 1-52(16) in

             relation to Stahle’s claim. The Stahle court first recalled that the Fourth Circuit

             previously held in Hyer v. Pittsburgh Corning Corp., that “the [North Carolina]

             Supreme Court does not consider disease to be included within a statute of repose

             directed at personal injury claims.”21 Although the Stahle court agreed that section 1-

             52(16) “functions as a statute of repose directed at certain personal injury claims,” it

             found that the “North Carolina General Assembly has not expressly expanded the




                     20
                           817 F.3d 96 (4th Cir. 2016).
                     21
                           Id. at 100 (citing Hyer, 790 F.2d 30, 34 (4th Cir. 1986).
                                                        8

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             language to include disease.”22 Thus, the court found that section 1-52(16) does not

             apply to claims arising out of disease.23 The court rejected CTS’s argument that Hyer

             addressed a different statute of repose.24 Instead, the court ruled that “we anticipate

             that the Supreme Court of North Carolina would rule that Section 1-52(16) is not

             applicable to Stahle’s claim arising from disease.”25 The Stahle court then went on

             to discuss its disagreement with the Eleventh Circuit’s ruling in Bryant that the plain

             language of section 1-52(16) demonstrated that there was no exception for latent

             diseases.26




                   22
                           Id.
                   23
                           Id.
                   24
                           Id. at 100-01 (citing Hyer and Wilder v. Amatex Corp., 314 N.C. 550,
             336 S.E.2d 66 (1985)). Although the Eleventh Circuit did not discuss Hyer or Wilder
             in Bryant, this court did address both of those cases in its determination that section
             1-52(16) did not contain an exception for latent diseases. See Doc. No. [68], at 9-14.
             The court specifically rejected an argument that the analysis of the North Carolina
             Supreme Court in Wilder directly applies here because the statute of repose discussed
             in Wilder is materially different than that considered in this case. Id. The court also
             noted that no North Carolina case had cited Hyer, but rather it had been cited only by
             other Fourth Circuit cases. Id. In Bryant, without a discussion of Hyer and Wilder,
             the Eleventh Circuit outright rejected the interpretation proffered by Stahle, finding
             that it ignored the plain language of the statute. See Bryant, 768 F.3d at 1381.
                   25
                           817 F.3d at 104.
                   26
                           Id. at 104-07.
                                                       9

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                   There can be no dispute that under the “law of the case” doctrine, the court

             must apply the Eleventh Circuit’s ruling in Bryant.27 There are only three exceptions

             to this doctrine: (1) discovery of new evidence, (2) controlling authority that renders

             Bryant contradictory, and (3) the ruling is clearly erroneous and would work manifest

             injustice. None of these exceptions is present here. In candor, the court is troubled

             by the argument raised by the Plaintiffs’ Liaison Counsel that this court “certainly

             does not owe blind deference to the erroneous 11th Circuit Bryant opinion.”28 The

             Plaintiffs rely upon a quote from Rutherford v. Columbia Gas that “some courts have

             recognized that the obligation to properly determine state law is more important than

             the general dictate to defer to prior federal precedent construing state law.”29 The

             Plaintiffs’ quote does not come from the majority opinion in Rutherford. Rather, it

             comes from the concurring and dissenting opinion.30 Moreover, Rutherford involved

             whether a panel of the Sixth Circuit was bound to follow a prior Sixth Circuit panel’s

             interpretation of Ohio law when that interpretation was based on an opinion of a

                   27
                          See, e.g., Venn v. St. Paul Fire & Marine Ins. Co., 99 F.3d 1058, 1063
             (11th Cir 1996) (“Under the law of the case doctrine, both the district court and the
             appellate court are generally bound by a prior appellate decision of the same case.”).

                   28
                          See Doc. No. [160], at 15-16.
                   29
                          575 F.3d 616 (6th Cir. 2009).
                   30
                          Id. at 624 (Clay, J., concurring in part and dissenting in part).
                                                       10

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             lower Ohio court. The discussion in Rutherford was not whether a district court had

             to follow the precedent of its own circuit court of appeals in the same case. On this

             matter, there really can be no dispute. Obviously, this court’s circumstances are

             vastly different. There can be no dispute that as a district court, this court must

             follow Bryant.

                   Similarly irrelevant for this court is whether any one federal court of appeals

             must follow another federal court of appeals’ view of state law. Yet, the Plaintiffs

             cite to Factors Etc., Inc. v. Pro Arts, Inc.,31 as if it provides some authority for this

             court to disregard Bryant when Factors really discusses whether the Second Circuit

             should follow the Sixth Circuit’s interpretation of a matter of state law. It is

             axiomatic that the Second Circuit is not controlled by the Sixth Circuit.

                   Finally, the Plaintiffs expend a great deal of energy arguing why the Eleventh

             Circuit was incorrect in its interpretation of North Carolina law and should have

             reached the same outcome as Stahle.32 Again, as a district court, this court is bound

             to follow Bryant. This court has no authority or desire to reconsider an opinion of the

             Eleventh Circuit. Moreover, simply because the Fourth Circuit sits in North Carolina

             does not render it as the final authoritative word on the interpretation of North


                   31
                          652 F.2d 278, 283 (2d Cir. 1981).
                   32
                          See Doc. No. [160], at 16-22.
                                                        11

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             Carolina law. The Fourth Circuit – like all federal courts across the country – is

             charged with making an Erie prediction as to what the highest court of North Carolina

             would say about North Carolina state law.33 Regardless of whether as a practical

             matter, the Fourth Circuit might have more experience in interpreting North Carolina

             law, there is nothing “binding” about the Fourth Circuit’s decision in Stahle as to

             other federal courts of appeal, or even as to North Carolina state courts, of course.

                   Moreover, the court notes that the decision in Stahle, itself, is a cogent

             reminder of the fact that North Carolina law remains highly unsettled in this area. In

             her concurring opinion, Judge Thacker noted two factors that this court had

             previously relied upon in finding that section 1-52(16) does not contain an exception

             for latent diseases: (1) Hyer can only be considered dicta because it construed a

             materially different statute than section 1-52(16); and (2) Hyer has not been cited by

             a reported North Carolina decision.34 Judge Thacker went even further in discussing

             the muddied waters of North Carolina law in this area in noting that the North

             Carolina Supreme Court as well as now four different federal circuits have reached




                   33
                          See, e.g., Molinos Valle Del Cibao C. por A. v. Lama, 633 F.3d 1330,
             1348 (11th Cir. 2011) (citing Guideone Elite Ins. Co. v. Old Cutler Presbyterian
             Church, Inc., 420 F.3d 1317, 1326 n.5 (11th Cir. 2005)).
                   34
                          See Stahle, 817 F.3d at 111-12 (Thacker, J., concurring).
                                                      12

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             conflicting conclusions on the question of whether “personal injury” in North

             Carolina encompasses a claim for “disease.” She stated:

                           The Supreme Court of North Carolina itself has sent mixed
                   signals about the scope of § 1–52(16). Compare Dunn v. Pac. Emp’rs
                   Ins. Co., 332 N.C. 129, 418 S.E.2d 645, 647–48 (1992) (holding that, in
                   an action based on the decedent’s death from cancer based on exposure
                   to hazardous chemicals, § 1–52(16) would be the proper statute of
                   limitations for the underlying claim for bodily injury), and Wilder, 336
                   S.E.2d at 69 (suggesting that “the statute of limitations contained in the
                   first clause of G.S. 1–52(16)” “govern[s] all negligence claims”), with
                   Boudreau v. Baughman, 322 N.C. 331, 368 S.E.2d 849, 853 n. 2 (1988)
                   (suggesting that § 1–52(16) was “intended to apply to plaintiffs with
                   latent injuries,” and is “inapplicable” to claimants who are “aware of
                   [their] injury as soon as it occur[s]”), and Misenheimer [v. Burris], 637
                   S.E.2d [173], 175–76[, 360 N.C. 620 (2006)] (explaining that latent
                   injury claims remain subject to the statute of repose in § 1–52(16)); see
                   also Ante at 109-10.

                          And outside of North Carolina’s borders, after the publication of
                   this decision, four circuits will have addressed this state law question,
                   all with different views of the statute’s scope. Compare In re Dow
                   Corning Corp., 778 F.3d 545, 552 (6th Cir. 2015) (“The Fourth Circuit
                   has consistently applied th[e] ‘disease exception,’ first announced by the
                   North Carolina Supreme Court in Wilder v. Amatex, to diseases
                   incurred from exposure to harmful products”), and Bryant v. United
                   States, 768 F.3d 1378, 1381 (11th Cir. 2014) (holding that the statute of
                   repose in § 1–52(16) unambiguously applies to disease claims), and
                   Klein v. DePuy, Inc., 506 F.3d 553, 559 (7th Cir. 2007) (in holding that
                   “§ 1–52(16) is not limited to latent injury claims,” relying on Dunn and
                   Wilder, rejecting Hyer, and ignoring Misenheimer).35




                   35
                         Id. at 114.
                                                      13

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             For this court, of course, the Eleventh Circuit’s ruling in Bryant is binding.36

                   In addition, the Plaintiffs argue that Stahle is now binding authority on North

             Carolina law and for this reason, the court must reconsider its prior ruling and should

             apply Stahle and not Bryant. There are numerous reasons why the Plaintiffs’

             argument is an incorrect statement of the law. The Plaintiffs first argue that because

             most of the underlying cases were filed in North Carolina, the court must apply North

             Carolina law under the “transferee/transferor” theory. As to the Plaintiffs from other

             states, the Plaintiffs contend that the court would have to undertake a choice of law

             analysis based on the individual facts and causes of action pleaded in each of those

             complaints.

                   Before addressing the Plaintiffs’ arguments concerning whether this court is

             bound to apply the law of the transferor forum, the court finds it useful to delve at

             some depth into the basis for this court’s jurisdiction. As the Government points out,

             these cases have been brought under the Federal Tort Claims Act and as such, the

             basis for jurisdiction is not diversity, but rather original federal question jurisdiction


                   36
                           The Plaintiffs also contend that § 1-52(16) does not apply to any causes
             of action that are not based on North Carolina law. Some of the Plaintiffs have raised
             wrongful death, intentional infliction of emotional distress, and post-discharge failure
             to warn claims. To the extent such claims exist under state law other than North
             Carolina and are not barred by the North Carolina statute of repose, the court
             addresses them below in conjunction with the discretionary function exception under
             the Federal Tort Claims Act.
                                                        14

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             under the Federal Tort Claims Act.37 Much of the argument made by the Plaintiffs

             is based on their incorrect assumption that this is a diversity action. For example, the

             Plaintiffs are correct that in a diversity action, the MDL court must apply the law of

             the transferor forum, that is, the law of the state in which the action was filed,

             including the transferor forum’s choice-of-law rules.38 In diversity actions, the

             transferee-transferor considerations can be quite complex.39 But the court need not

             reach these issues because this is not a diversity case.

                   When an MDL court (the “transferee” court) has a case with jurisdiction based

             on federal law, it does not apply the law of the transferor court as it would under Van

             Dusen/Ferens, rather the transferee court should follow the law of its own circuit on




                   37
                          See, e.g., James Ventures, L.P. ex rel. Alpert v. Timco Aviation Servs.,
             Inc., 315 F. App'x 885, 888 (11th Cir. 2009).
                   38
                         See, e.g., Ferens v. John Deere Co., 494 U.S. 516, 524 (1990); Van
             Dusen v. Barrack, 376 U.S. 612 (1964).
                   39
                           See, e.g., Wahl v. General Electric Co., 786 F.3d 491 (6th Cir. 2015)
             (discussing application of Van Dusen/Ferens in Multidistrict Litigation in conjunction
             with distinctions between § 1404 and § 1406).
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             questions of federal law.40      “As a general rule, questions of federal law in

             MDL-transferred cases are governed by the law of the transferee circuit.”41

                   The court must now consider under Eleventh Circuit authority which law to

             apply to the Plaintiffs’ federal cause of action under the Federal Tort Claims Act. “It

             is well settled that the United States, as a sovereign entity, is immune from suit unless

             it consents to be sued.”42 “Through the enactment of the FTCA, the federal

             government has, as a general matter, waived its immunity from tort suits based on

             state law tort claims.”43

                   The Zelaya court also explained that:



                   40
                           See, e.g., In re Korean Air Lines Disaster of September 1, 1983, 829
             F.2d 1171 (D.C. Cir. 1987), aff’d on other grounds sub nom. Chan v. Korean Air
             Lines, Ltd., 490 U.S. 122 (1989); U.S. ex rel. Hockett v. Columbia/HCA Healthcare
             Corp., 498 F. Supp. 2d 25, 39-40 (D.D.C. 2007).
                   41
                           Hockett, 498 F. Supp. 2d at 40. The Plaintiffs’ citation to In re Dow
             Corning Corp. (Sutherland v. DCC Litig. Facility), 778 F.3d 545 (6th Cir. 2015), does
             not counsel a different result. In Sutherland, the plaintiff had filed a diversity
             personal injury case against the defendant. When the defendant entered into
             bankruptcy, the federal district court transferred the personal injury case to the court
             overseeing the defendant’s bankruptcy proceedings. Id. at 549. The Sixth Circuit
             recognized that although this was “not quite a diversity case,” the court should still
             apply the state law of the transferor court in which the personal injury case was
             originally filed. Id. at 549-51. These are not the circumstances of this case.
                   42
                          Zelaya v. United States, 781 F.3d 1315, 1321 (11th Cir. 2015).
                   43
                         Id. (citing Millbrook v. United States, ___ U.S. ___, 133 S. Ct. 1441,
             1443 (2013)).
                                                        16

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                   Any plaintiff seeking to sue the United States under the FTCA must
                   satisfy two initial statutory burdens to establish jurisdiction. Clark v.
                   United States, 326 F.3d 911, 912 (7th Cir. 2003). First, as with all
                   suitors in federal courts, the plaintiff must identify an explicit statutory
                   grant of subject matter jurisdiction, which in the case of the FTCA is 28
                   U.S.C. § 1346(b)(1). Id. This statute provides:

                          Subject to the provisions of chapter 171 of this title [i.e.,
                          28 U.S.C. §§ 2671–2680], the district courts . . . shall have
                          exclusive jurisdiction of civil actions on claims against the
                          United States, for money damages, accruing on and after
                          January 1, 1945, for injury or loss of property, or personal
                          injury or death caused by the negligent or wrongful act or
                          omission of any employee of the Government while acting
                          within the scope of his office or employment, under
                          circumstances where the United States, if a private person,
                          would be liable to the claimant in accordance with the law
                          of the place where the act or omission occurred.

                   28 U.S.C. § 1346(b)(1) (emphasis added). Translated, any time the
                   federal government is sued based on the act of an employee performed
                   within the scope of his employment duties, federal district courts will
                   have exclusive jurisdiction of such claims. In addition, § 1346(b)(1)
                   sets, as a predicate, a requirement that the circumstances be such that a
                   private person would be liable under the law of the state where the
                   federal employee's act or omission occurred, had a private person so
                   acted.44

             The “reference in § 1346(b)(1) to ‘the law of the place where the act or omission

             occurred’ means the law of the state where the alleged tort occurred.”45 “Because the



                   44
                          Id.
                   45
                          Id. at 1323 (citing Stone v. United States, 373 F.3d 1129, 1130 (11th Cir.
             2004)).
                                                       17

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             United States is a sovereign entity, the second jurisdictional requirement is a statute

             that waives its sovereign immunity.”46 The court discusses this second requirement

             in more detail below when addressing the discretionary function exception.

                   The “law of the place where the act or omission occurred” means “the whole

             law of the State where the act or omission occurred,” including the choice of law

             rules of that state.47 “The plaintiff’s injury is considered to be sustained in the state

             ‘where the last act occurred giving rise to [the] injury.’”48 Here, there can be no

             dispute but that the place is North Carolina, the state in which all of the Plaintiffs

             resided at the time they allege they were exposed to a contaminated water supply at

             Camp Lejeune. All actions with respect to the water supply at Camp Lejeune took

             place in North Carolina. North Carolina applies the traditional lex loci delicti rule in

             tort cases.49 Significantly, under North Carolina law, a statute of repose is considered




                   46
                          Id. at 1322.
                   47
                         See Richards v. United States, 369 U.S. 1, 11 (1962); Schippers v.
             United States, 715 F.3d 879, 886 (11th Cir. 2013).
                   48
                          Harco, 206 N.C. App. at 694, 698 S.E.2d at 724.
                   49
                         See, e.g., Boudreau v. Baughman, 322 N.C. 331, 335, 368 S.E.2d 849,
             853-54 (1988); Harco Nat’l Ins. Co. v. Grant Thornton LLP, 206 N.C. App. 687, 692,
             698 S.E.2d 719 (2010).
                                                        18

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             substantive law and therefore is also part of the “law of the place” of North

             Carolina.50

                   While the FTCA does direct that North Carolina law applies as the “law of the

             place where the act or omission occurred,” the fact that federal law points to state law

             for its choice of law does not mean that the cause of action arises under state law.

             This is not a distinction without a difference, as this very case shows. There is only

             one federal law. The court applies the federal law as located in its controlling

             precedent – in this case, Bryant. The court does not ignore the fact that – as it turns

             out – the Eleventh Circuit and the Fourth Circuit have reached different conclusions

             as to the interpretation of North Carolina law to be applied to this federal question

             under the FTCA. But that simply happens to be a product of the fact that there are

             different federal courts of appeal in the United States. A plaintiff has no “right” to

             the Fourth Circuit’s interpretation of North Carolina law over the Eleventh Circuit’s

             interpretation. Once the determination was made to put these cases into an MDL

             assigned to the United States District Court for the Northern District of Georgia, that

             choice was fixed as to the Eleventh Circuit’s interpretation.


                   50
                           See, e.g., Christie v. Hartley Constr., Inc., 367 N.C. 534, 766 S.E.2d 283
             (2014); Boudreau, 322 N.C. at 341, 368 S.E.2d at 857 (“If the action is not brought
             within the specified period, the plaintiff ‘literally has no cause of action. The harm
             that has been done is damnum absque injuria – a wrong for which the law affords no
             redress.’” (citation omitted)).
                                                       19

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                   Perhaps understanding that this court has no choice but to follow Bryant, the

             Plaintiffs make several suggestions as to procedural options the court could exercise

             as a means of avoiding the outcome dictated by Bryant. First, the Plaintiffs

             recommend that the court “remand” this case. Second, the Plaintiffs suggest that if

             the court finds there is no subject-matter jurisdiction, it should “transfer” the cases

             back to the United States District Court for the Eastern District of North Carolina.51

             For the reasons explained below, neither of these procedural options is available to

             the court.

                   The court begins by noting the procedure under which these cases were

             transferred to the Northern District of Georgia. Pursuant to 28 U.S.C. § 1407, the

             United States Judicial Panel on Multidistrict Litigation may transfer “civil actions

             involving one or more common questions of fact [] pending in different districts . .

             . to any district for coordinated or consolidated pretrial proceedings.”52 “Each action

             so transferred shall be remanded by the panel at or before the conclusion of such

             proceedings to the district from which it was transferred unless it shall have been

             previously terminated.”53 Here, the Judicial Panel found under section 1407 that all


                   51
                          See Doc. No. [176].
                   52
                          28 U.S.C. § 1407.
                   53
                          Id.
                                                       20

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             actions shared “factual questions arising out of alleged death or injuries due to

             contaminated drinking water on the Marine Corps Base at Camp Lejeune” and should

             be centralized.54

                   The Plaintiffs contend that when jurisdiction is lacking, remand under 28

             U.S.C. § 1631 to the Court of Appeals that does have jurisdiction is the proper course

             of action. The court cannot agree. Title 28 U.S.C. § 1631 provides:

                   Whenever a civil action is filed in a court as defined in section 610 of
                   this title or an appeal, including a petition for review of administrative
                   action, is noticed for or filed with such a court and that court finds that
                   there is a want of jurisdiction, the court shall, if it is in the interest of
                   justice, transfer such action or appeal to any other such court in which
                   the action or appeal could have been brought at the time it was filed or
                   noticed, and the action or appeal shall proceed as if it had been filed in
                   or noticed for the court to which it is transferred on the date upon which
                   it was actually filed in or noticed for the court from which it is
                   transferred.55

             Courts have applied section 1631 where a plaintiff files a case “in the wrong court for

             very understandable reasons” and requiring re-filing in the right court might raise

             statute of limitations issue.56 That is not the situation facing the Plaintiffs here. For

             the claims barred by North Carolina’s statute of repose, there is no “right court” in


                   54
                          See Doc. No. [1], Transfer Order.
                   55
                          28 U.S.C. § 1631.
                   56
                          See, e.g., ITT Base Servs. v. Hickson, 155 F.3d 1272, 1276 (11th Cir.
             1998).
                                                        21

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             which the claims could be filed. Those claims have been extinguished by operation

             of North Carolina substantive law.57

                   Most significantly, the Plaintiffs offer no response to the Government’s

             argument that any remand or transfer is barred by Lexecon Inc. v. Milberg Weiss

             Bershad Hynes & Lerach.58 In Lexecon, Lexecon was one of several defendants in

             a Multidistrict Litigation case concerning economic losses resulting from the failure

             of the Lincoln Savings & Loan. While the MDL proceeded on pretrial issues, the

             plaintiffs and Lexecon reached a settlement. Lexecon then filed a state law action

             against class counsel for the plaintiffs. That case was also transferred into the

             Multidistrict Litigation. After the remaining parties in the litigation reached a

             settlement, Lexecon asked for its case against class counsel to be “remanded,” but

             class counsel asked for the case to be “transferred” under 28 U.S.C. § 1404 to the

             same court having presided over the pretrial proceedings in the MDL.

                   The Supreme Court held that the MDL court had no authority to “transfer” any

             individual case under section 1404. The Court began with the language of section



                   57
                            To the extent the court reaches below an alternative ruling that the
             Plaintiffs’ claims are also barred by the discretionary function exception to the FTCA,
             that holding arises out of issues related to sovereign immunity and that is also not an
             issue that can be “corrected” by remand or transfer to a different court.
                   58
                          523 U.S. 26 (1998).
                                                       22

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             1407(a) which authorizes the Judicial Panel on Multidistrict Litigation to transfer

             civil actions with common issues of fact “to any district for coordinated or

             consolidated pretrial proceedings,” but imposes a duty on the Judicial Panel to

             remand any such action to the original district “at or before the conclusion of such

             pretrial proceedings.”59 But the Court also noted the language of the Judicial Panel’s

             Rule 14(b) which provides that “[e]ach transferred action that has not been terminated

             in the transferee district court shall be remanded by the Panel to the transferor district

             for trial, unless ordered transferred by the transferee judge to the transferee or other

             district under 28 U.S.C. § 1404(a) or 28 U.S.C. § 1406.”60 Further, the Court noted

             that the language of § 1407(a), itself, applied only to pretrial proceedings and did not

             specifically bar a “self-transfer.”61

                   Ultimately, however, the Court found that “textual pointers” lead to the

             opposite conclusion that there could not be such a “transfer” because of the

             mandatory “shall” preceding the direction to remand the cases at the conclusion of

             pretrial proceedings.62 “In the absence of any indication that there might be



                   59
                          Id.
                   60
                          Id. at 33.
                   61
                          Id. at 33-34.
                   62
                          Id. at 35.
                                                        23

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             circumstances in which a transferred case would be neither ‘terminated’ nor subject

             to the remand obligation, then, the statutory instruction stands flatly at odds with

             reading the phrase ‘coordinated or consolidated pretrial proceedings’ so broadly as

             to reach its literal limits, allowing a transferee court’s self-assignment to trump the

             provision imposing the Panel’s remand duty.”63 The Court continued: “Section

             1407(a) speaks not in terms of imbuing transferred actions with some new and

             distinctive venue character, but simply in terms of ‘civil actions’ or ‘actions.’ It says

             that such an action, not its acquired personality, must be terminated before the Panel

             is excused from ordering remand.”64 Thus, the Court found that Rule 14(b) was

             inconsistent with the statutory language of section 1407(a).65 The Supreme Court

             viewed section 1407 not as a jurisdictional statute, but rather as a “venue statute that

             . . . categorically limits the authority of courts (and special panels) to override a

             plaintiff’s choice [of forum].”66 Accordingly, an MDL transferee court cannot order

             a transfer of a case from the MDL back to itself or to any other district court directly.




                   63
                          Id.
                   64
                          Id. at 37.
                   65
                          Id. at 40.
                   66
                          Id. at 42.
                                                        24
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                   Lexecon’s bar has been interpreted broadly.67 At least two other courts have

             held that Lexecon’s bar on transfer under section 1404 extends to transfer under

             section 1631 to correct some jurisdictional defect.68 It is true that this court as the

             transferee court may “suggest” to the Judicial Panel that it should remand the case.69

             But for all of the reasons given in this order, the court does not find any compelling

             reason to make such a suggestion.

                   The Plaintiffs also argue that the issue is one of “venue” because the Fourth

             Circuit would permit these cases to proceed based on its interpretation of North

             Carolina law, and the Eleventh Circuit will not. The court again does not agree with

             this characterization. Venue in this case is not “improper” as the term is used in


                   67
                            See In re Asbestos Prods. Liab. Litig. (No. VI), 965 F. Supp. 2d 612, 622
             (E.D. Pa. 2013) (“It follows, therefore, that after an MDL transferee court has seen
             an MDL case through the pretrial phase, the MDL court can either rule on the dispute,
             or suggest to the JPML that it be remanded to the transferor court for trial. Succinctly
             put, Lexecon does not allow an MDL transferee court to transfer a case back to itself
             for trial; nor does Lexecon leave room for the MDL transferee court to transfer MDL
             cases to other districts directly.”).
                   68
                          See In re Chiquita Brands Int’l, Inc. Alien Tort Statute & S’holder
             Derivative Litig., ____ F. Supp. 3d ____, 2016 WL 3247913 (S.D. Fla. June 1,
             2016); In re FEMA Trailer Formaldehyde Prods. Liab. Litig., MDL No. 1873, 2012
             WL 1580761 (E.D. La. May 4, 2012) (observing that under Lexecon district court
             could transfer directly-filed cases under § 1406(a) but likely not tagalong cases).
             Compare In re Western States Wholesale Natural Gas Antitrust Litig., MDL No.
             1566, 2010 WL 2539728 (D. Nev. June 4, 2010) (cannot transfer MDL case under
             § 1631 unless party waives venue).
                   69
                          See Panel Rule 10.1(b).
                                                       25
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             section 1406(a). The fact that the United States Court of Appeals for the Fourth

             Circuit has construed North Carolina law in a way that is more favorable to the

             Plaintiffs’ position than the interpretation of North Carolina law offered by the United

             States Court of Appeals for the Eleventh Circuit does not mean that this court is an

             “improper” venue.

                   The Judicial Panel on Multidistrict Litigation determined that these cases

             should be transferred to the Northern District of Georgia and the Plaintiffs have

             offered no argument that this decision was procedurally flawed other than the fact

             that they had asked the Judicial Panel on Multidistrict Litigation to consolidate these

             cases for pretrial proceedings in the United States District Court for the Eastern

             District of North Carolina where several of the cases were pending. The Judicial

             Panel, however, was under no obligation to follow that request.

                   The Plaintiffs also complain that Erica Bryant (the only plaintiff who filed in

             the Northern District of Georgia) had asked this court – prior to the formation of the

             MDL – to transfer the case to the Eastern District of North Carolina. This court did

             not rule on that motion prior to the transfer of the MDL to the Northern District of

             Georgia and then denied the motion as moot once the MDL was transferred. Again,

             there is nothing improper in the sequencing of these events. But the Plaintiffs

             contend that the holding of Bryant will result in a “miscarriage of justice” because the


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             Eleventh Circuit’s ruling on the statute of repose applies “simply because of where

             the Panel decided to transfer all of the cases, even in the face of Bryant’s earlier

             request for transfer.”70 However, these are the kinds of decisions that are made every

             day in MDL litigation and consolidation assignments. It is not enough to argue that

             the decision turned out not to be favorable to the Plaintiffs and therefore is a

             “miscarriage of justice.” The Plaintiffs fail to substantiate in any way their argument

             that this outcome violates their Equal Protection and Due Process rights.71

                   This is different than a situation in which a plaintiff truly filed in the wrong

             venue or filed in a district court that lacked personal jurisdiction over a defendant.

             In those cases, the plaintiff might argue a potential miscarriage of justice. Here,

             rather, the “jurisdictional” or “venue” argument raised by the Plaintiffs is actually an

             argument against the substantive ruling by the Bryant court that the claims have been

             extinguished as a matter of law by a statute of repose under North Carolina law – the

             law which would apply to the Plaintiffs’ claims no matter where they are filed. The

             Plaintiffs ask for remand or transfer here solely as a means of avoiding the outcome

             required by the Eleventh Circuit’s ruling in Bryant. Under these circumstances, the




                   70
                          See Doc. No. [176], at 12.
                   71
                          Id. at 13.
                                                       27
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             court finds that this is not a proper basis for remand or transfer, even if the court had

             the authority to do either.

                   Finally, the Plaintiffs argue that the Multidistrict Litigation is a “nullity”

             because the court did not establish a Steering Committee or direct the Plaintiffs to file

             an omnibus complaint. The court finds this argument to be totally without merit. As

             the court explained above, it made the determination to address the threshold legal

             issues in the case first because of the possibility that those legal matters could be

             outcome determinative. As it turns out, they were. The court understands the

             Plaintiffs’ frustration that it took five years to reach a conclusion on these issues, but

             that is an unfortunate reality of litigation when arguments are raised to the level of the

             United States Supreme Court.

                   In finding that it is bound by Bryant and the North Carolina statute of repose

             bars the Plaintiffs’ claims, the court is not indifferent to the assertions made by the

             Plaintiffs here. The Plaintiffs have raised serious allegations and contend they and

             their families have suffered very serious consequences as a result of the

             contamination of the water supply at Camp Lejeune. But the nature of the Plaintiffs’

             allegations cannot alter the court’s obligation to follow the law.




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                    2.     New Theories of Liability

                    Given the substantive outcome of the Eleventh Circuit and Supreme Court

             cases, in their most recent motions, the Plaintiffs have contended that the North

             Carolina statute of repose that has been at issue for the entirety of this litigation is not

             actually the statute of repose the court should apply. While the Plaintiffs recognize

             that it would have been better for them to have raised this argument at the inception

             of this litigation five years ago, they say it is an issue of subject-matter jurisdiction

             which the court must address at any stage of the litigation.

                    The Plaintiffs now argue that the applicable North Carolina statute of repose

             is one related to real property.72 The Government responds that the real property

                    72
                           Plaintiff Wright has filed a proposed amended complaint with
             allegations geared toward this new argument about the statute of repose, as well as
             the Government’s arguments on the discretionary function exception to the FTCA
             discussed below. Plaintiff Bryant has also filed several proposed amended
             complaints. Despite the fact that the court has not granted leave to amend, the court
             considers the factual allegations raised by Plaintiffs Wright and Bryant in the interest
             of judicial economy.
                    Given that even considering the additional allegations in Plaintiff Wright’s and
             Plaintiff Bryant’s proposed amended complaints, the court determines that the
             Plaintiffs’ claims are barred under North Carolina’s statute of repose as well as the
             Feres doctrine and the discretionary function exception to the Federal Tort Claims
             Act, the court DENIES AS MOOT Plaintiff Bryant’s motion to amend complaint
             [77]; DENIES AS MOOT Plaintiff Wright’s motion to amend complaint [126] and
             DENIES AS MOOT Plaintiff Bryant’s supplemental motion to amend [164].
             Because the court denies these motions as moot, the court need not consider the
             Government’s arguments that the Plaintiffs should not be permitted to amend their
             complaints for various procedural reasons or because they are dilatory and futile. The
             court DENIES AS MOOT the Government’s motion to strike [152].
                                                         29
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             statute of repose does not apply because the Plaintiffs’ alleged injuries arise out of

             contamination of the water supply at Camp Lejeune and not any structural or

             architectural defect in the real property improvements.

                   In her proposed amended complaint addressing the real property statute of

             repose, Plaintiff Wright asserts that there are three sources of contamination of the

             Camp Lejeune water supply: (1) the dry cleaners at Tarawa Terrace, (2) leaking

             storage tanks at the Hadnot Point aquifer, and (3) surreptitious dumping of chemical

             contaminants from training exercises for firemen. The Plaintiffs contend that the

             Tarawa Terrace and Hadnot Point contamination go to wells, underground piping and

             delivering systems, and water treatment plants that constitute “improvements to real

             property” and thus implicate North Carolina General Statute § 1-50(a)(5) which

             contains a shorter six year statute of repose than § 1-52(16). Further, the Plaintiffs

             contend a defendant may not take advantage of the six year statute of repose under

             § 1-50(a)(5) if the property owner was in actual control or possession of the

             improvement and knew or should have known of the defective and unsafe conditions

             or the property owner engaged in willful or wanton negligence or concealment.73

                   73
                          Section 1-50(a)(5)(d) provides:
                          The limitation prescribed by this subdivision shall not be
                          asserted as a defense by any person in actual possession or
                          control, as owner, tenant or otherwise, of the improvement
                          at the time the defective or unsafe condition constitutes the
                          proximate cause of the injury or death for which it is
                                                       30
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                   North Carolina General Statute § 1-50(a)(5) provides:

                   No action to recover damages based upon or arising out of the defective
                   or unsafe condition of an improvement to real property shall be brought
                   more than six years from the later of the specific last act or omission of
                   the defendant giving rise to the cause of action or substantial completion
                   of the improvement.74

                   In Wilson v. McLeod Oil Co.,75 the North Carolina Supreme Court discussed

             § 1-50(a)(5) and the purpose of its statute of repose. The Court explained that the:

                   exception found in this section is based on the continued duty of owners
                   and tenants to inspect and maintain the premises. Gillespie v. Coffey, 86
                   N.C.App. 97, 356 S.E.2d 376 (1987). Furthermore, § 1–50(5) was not
                   intended to limit the liability of persons in the Warrens’ situation
                   because it was “designed to limit the potential liability of architects,
                   contractors, and perhaps others in the construction industry for
                   improvements made to real property.” Lamb v. Wedgewood South
                   Corp., 308 N.C. 419, 427–28, 302 S.E.2d 868, 873 (1983) (interpreting
                   similar language in an earlier version of the statute). This statute limits
                   the liability for certain groups who might otherwise be subject to a
                   longer statute of limitation. Id. at 427, 302 S.E.2d at 873. The exception
                   in this statute indicates that the limited period of liability was not
                   intended to apply to those in actual possession or control of the land if
                   they knew or had reason to know of the defect.76


                        proposed to bring an action, in the event such person in
                        actual possession or control either knew, or ought
                        reasonably to have known, of the defective or unsafe
                        condition.
             See N.C. Gen. Stat. § 1-50(a)(5)(d).
                   74
                          N.C. Gen. Stat. § 1-50(a)(5).
                   75
                          327 N.C. 491, 398 S.E.2d 586 (1990).
                   76
                          Id. at 517, 398 S.E.2d at 600.
                                                       31
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             Later cases confirm the fact that § 1-50(a)(5) was meant to address the liability of

             architects, designers, and contractors. For example, in Dawson v. North Carolina

             Department of Environment and Natural Resources,77 the court considered the

             purpose of § 1-50(a)(5) and noted that:

                   the plain language of the statute indicates that the statute does not apply
                   unless the action “aris[es] out of the defective or unsafe condition of an
                   improvement to real property.” N.C. Gen. Stat. § 1–50(a)(5)(a). Indeed,
                   our Supreme Court has held:

                          In order for this statute to apply, three circumstances must
                          exist: (1) the action must be for recovery of damages to
                          real or personal property, (2) the damages must arise out of
                          the defective and unsafe condition of an improvement to
                          real property, and (3) the party sued must have been
                          involved in the designing, planning, or construction of the
                          defective or unsafe improvement.

                   Feibus & Co. v. Godley Constr. Co., 301 N.C. 294, 302, 271 S.E.2d
                   385, 391 (1980) (emphasis added).

                   Similarly, in Trustees of Rowan Tech. Coll. v. J. Hyatt Hammond
                   Assocs., 313 N.C. 230, 239, 328 S.E.2d 274, 280 (1985) (emphasis
                   added), the Court held that N.C. Gen. Stat. § 1–50(a)(5) “deals with
                   actions for damages for breach of contract, negligence, and recovery of
                   economic or monetary loss in general arising from faulty repair or
                   improvement to real property against, among others, persons who
                   furnish the design for or supervise the construction of such repair or
                   improvement. . . .” Phrased differently, the statute “deals expressly with
                   claims arising out of defects in improvement to realty caused by the
                   performance of specialized services of designers and builders.” Id., 328
                   S.E.2d at 279–80 (emphasis added).


                   77
                          204 N.C. App. 524, 694 S.E.2d 427 (2010).
                                                       32
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                   In sum, a prerequisite for application of N.C. Gen. Stat. § 1–50(a)(5) is
                   that there must have been an improvement to real property and that
                   improvement must be either defective or unsafe.78

                   Here, the Plaintiffs contend that the wells, underground piping and delivery

             systems, and water treatment plants constitute improvements to real property under

             § 1-50(a)(5). The Plaintiffs assert that the wells and water treatment plants were

             contaminated and therefore were unsafe or defective. Presuming that § 1-50(a)(5) is

             the appropriate statute of repose, the Plaintiffs then go on to state that the

             Government cannot take advantage of this statute of repose because it has remained

             the landowner of the property in question and was aware of the “improvements”

             regarding the water treatment system and engaged in “willful and wanton

             negligence.”

                   Significantly, however, there is no contention that the design or construction

             of the water treatment plants or wells was defective such that it caused the

             contamination of the water. Rather, the Plaintiffs clearly assert that the Government


                   78
                           Id. at 529-30, 694 S.E.2d at 431 (footnote omitted); see also Forsyth
             Mem’l Hosp., Inc. v. Armstrong World Indus., Inc., 336 N.C. 438, 447, 444 S.E.2d
             423, 429 (1994) (referring to § 1-50(a)(5) as “statute of repose governing actions
             against a materialman arising out of improvement to real property.”); Trustees of
             Rowan Tech. Coll. v. J. Hyatt Hammond Assocs., 313 N.C. 230, 239, 328 S.E.2d
             274, 280 (1985) (“Our decision is further bolstered by the fact that § 50(5) was
             enacted, like many similar statutes across the country, at the urging of architects and
             builders in order to protect them against claims arising long after their work had been
             accomplished.”).
                                                       33
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             itself, or individuals permitted by the Government to be on the property, dumped

             chemicals into the ground such that the water table became contaminated. It is the

             dumping and the failure to monitor water quality, the Plaintiffs contend, that caused

             the contamination, not any malfunction with the water treatment and delivery system.

             There is no contention that the water treatment system failed to operate as designed.

             Based on these allegations, the court finds that section 1-50(a)(5) does not apply

             because the issue here is not one of a “defective or unsafe condition of an

             improvement to real property.” Thus, the statute of repose in § 1-52(16) does apply.79

                   For all of the foregoing reasons, the court reaffirms that the ten-year North

             Carolina statute of repose in § 1-52(16) applies to the Plaintiffs’ claims. There

             appears to be no disagreement that the affected wells were taken out of use in 1987.

             The earliest claim made by any Plaintiff was in 1999, after the ten-year period of

             repose had expired. The Plaintiffs’ claims, therefore, are barred. However, the

             Plaintiffs now argue that there is a factual dispute as to when the Government took

             its last action that would start the repose clock ticking. The Plaintiffs offer two

             theories: (1) the Government continued to make omissions during the ten-year period

             of repose; and (2) newly discovered evidence gives rise to a recent duty to warn claim


                   79
                           See Wilson, 327 N.C. at 518, 398 S.E.2d at 600 (where landowners
             knew of presence of underground tanks, they could not avail themselves of six year
             statute of repose and § 1-52(16) applied).
                                                      34
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             not barred by the statute of repose. The Plaintiffs point to a 2012 report of the

             Agency of Toxic Substances Disease Registry (“ATSDR”) that contamination also

             occurred at the Hadnot Point fuel farm and that contamination by chlorinated solvents

             occurred in the drinking water at Camp Lejeune from at least 1957 through 1987.

             The Plaintiffs contend that the Government failed to warn of this contamination and

             engaged in fraudulent concealment of information.

                   Specifically, the Plaintiffs allege: (1) the Government delayed sufficient testing

             and shut down of the impacted wells from at least 1982 and reliable testing was not

             reported until 2010, (2) the Government covered up the causal link between

             contamination and injuries by concealing information about groundwater

             contamination, (3) the Government continues to “instill confidence” in those exposed

             that there is no link between the contamination and injury and “instill doubt” in the

             minds of victims that there was any problem, (4) the Government repeatedly

             attempted to hide information about contamination, (5) the Government did not notify

             victims of potential contamination until 2008 and the notification letter, itself,

             continued the Government’s concealment, and (6) all of these acts caused victims to

             delay seeking treatment for latent diseases and to delay filing suit.80



                   80
                            See Doc. No. [160], at 25-28 (collecting allegations from various
             complaints).
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                   The Government responds that (1) these claims are still barred by the statute

             of repose if the underlying conduct occurred more than ten years before a claim was

             filed because the statute of repose does not run anew with every occurrence of

             continuing acts or omissions that fail to ameliorate an injury and alternatively (2)

             these claims would be barred by the discretionary function exception under the

             FTCA.

                   In Hodge v. Harkey,81 the plaintiffs – neighboring landowners – filed suit

             against a gas station and the oil company that supplied the station with gas, alleging

             that their property had become contaminated from underground storage tanks at the

             gas station. The defendants raised the ten-year statute of repose contained in § 1-

             52(16). The plaintiffs responded that the defendants were either obligated to or

             undertook certain repairs and remediation efforts which tolled the statute of repose.

             The court rejected the plaintiffs’ arguments.82 “This Court has previously held that

             a statute of repose containing ‘no action’ language barred all claims, including claims

             seeking to extend liability for subsequent repairs or remedial measures.”83 Similarly,



                   81
                          178 N.C. App. 222, 631 S.E.2d 143 (2006).
                   82
                          Id. at 226, 631 S.E.2d at 146.
                   83
                         Id. (citing Whitehurst v. Hurst Built, Inc., 156 N.C. App. 650, 577
             S.E.2d 168 (2003); Monson v. Paramount Homes, Inc., 133 N.C. App. 235, 515
             S.E.2d 445 (1999)).
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             in Monson, the court held that “[t]o allow the statute of repose to toll or start running

             anew each time a repair is made would subject a defendant to potential open-ended

             liability for an indefinite period of time, defeating the very purpose of statutes of

             repose. . . .”84 North Carolina holds that “[s]ubstantive rights, such as those created

             by the statute of repose are not subject to tolling.”85

                   These decisions are not surprising. The Supreme Court in Waldburger

             addressed the unique nature of statutes of repose. The Court explained that a “statute

             of repose . . . puts an outer limit on the right to bring a civil action. That limit is

             measured not from the date on which the claim accrues but instead from the date of

             the last culpable act or omission of the defendant.”86 Because the repose is not related

             to the accrual of the cause of action, it is the “equivalent” to a “cut off” or an



                   84
                          133 N.C. App. at 240, 515 S.E.2d at 449; see also Brown v. American
             Multimedia, Inc., 170 N.C. App. 697, 614 S.E.2d 606 (Table), 2005 WL 1330919
             (N.C. App. June 7, 2005) (applying statute of repose despite plaintiffs’
             characterization of claims as “contribution” or “fraudulent failure to reveal material
             information” because repose “establishes a fixed limit as to when entities, such as
             landowners, can expect to no longer be exposed to lawsuits for damage to property”
             and court would not “allow end-run around the statute of repose that would ignore a
             clear mandate to the contrary and undermine the chief virtue of the statute, its
             certainty”).
                   85
                           See Stallings v. Gunter, 99 N.C. App. 710, 716, 394 S.E.2d 212, 216
             (1990) (holding that “fraudulent concealment . . . cannot operate to toll the running
             of the statute of repose”).
                   86
                          CTS Corp. v. Waldburger, ___ U.S. ___, 134 S. Ct. 2175, 2182 (2014).
                                                        37
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             “absolute bar” that may take place prior to the occurrence of discovery of an injury.87

             The Court explained that a “statute of repose is a judgment that defendants should be

             free from liability after the legislatively determined period of time, beyond which the

             liability will no longer exist and will not be tolled for any reason.”88 Accordingly,

             “[s]tatutes of repose . . . generally may not be tolled, even in cases of extraordinary

             circumstances beyond a plaintiff’s control.”89

                   For these reasons, the court finds that any failure to warn claims – including

             alleged “renewed” duty to warn of the release of the ATSDR report – do not “toll”

             or restart the statute of repose. The court GRANTS the Government’s motion to

             dismiss [127]. The court finds that all the Plaintiffs’ claims based on North Carolina

             law are barred by the ten-year statute of repose contained in North Carolina General

             Statute § 1-52(16). Nonetheless, in the alternative, the court addresses below whether

             the discretionary function exception under the Federal Tort Claims Act would also

             apply to the Plaintiffs’ North Carolina law claims as well as encompass the newly

             alleged claims that might be governed by law other than North Carolina.90


                   87
                          Id. at 2183.
                   88
                          Id. (quotation and citation omitted).
                   89
                          Id.
                   90
                          As the court explains below, in their proposed amended complaints,
             several Plaintiffs allege claims of wrongful death or loss of consortium based on law
                                                       38
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                   B.     Motion to Dismiss (Feres)

                   The Government argues that for those Plaintiffs who were service members at

             the time their claims accrued, in addition to the North Carolina statute of repose, the

             Feres doctrine also bars any recovery against the United States under the Federal Tort

             Claims Act for claims directly related to the contamination of the water supply as

             well as for any alleged failure to warn of the contamination. The Plaintiffs respond

             that these service members were not always on active duty at Camp Lejeune and the

             Feres doctrine should not be applied when there are times of furlough or inactive

             service. The Plaintiffs further argue that the court should not consider the failure to

             warn claims as one unified claim, but rather the court should find the Feres doctrine

             applies only to the times upon which the Government’s obligation to warn arose

             while a particular plaintiff was on active duty as a service member.91


             other than North Carolina. The Plaintiffs argue that those claims are not governed by
             the North Carolina law and the North Carolina statute of repose. The Government
             responds that under the Federal Tort Claims Act, those claims would still be governed
             by North Carolina law no matter where a wrongful death occurred. See Doc. No.
             [170], at 4-7 (citing inter alia Gould Elecs. Inc. v. United States, 220 F.3d 169 (3d
             Cir. 2000) and Simon v. United States, 341 F.3d 193, 196 (3d Cir. 2003)). The court
             need not tackle this complex choice of law question because it determines below that
             these claims are also barred by the discretionary function exception.
                   91
                          The court notes that the Plaintiffs make other less than persuasive policy
             arguments concerning the application of the Feres doctrine. See Doc. No. [71], at 29
             (arguing Government has duty to warn based on “moral imperative”); Doc. No. [176],
             at 14 (“this Court – or another – deserves a chance to stand up to defeat the
             outrageous doctrine of Feres that has taken our courts so far from the plain language
                                                       39
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                   It has long been established that the “Government is not liable under the

             [FTCA] for injuries to servicemen where the injuries arise out of or are in the course

             of activity incident to service.”92 The court considers three factors: “(1) duty status,

             (2) location, and (3) activity, to determine whether a service member’s injuries

             resulting from government negligence . . . are incident to service [,]” and thus subject

             to the doctrine announced in Feres.93 The Eleventh Circuit has held that “the

             serviceman’s duty status was the most important criterion in determining whether an

             injury was incident to military service.”94 “Where the claimant is injured on base

             while on ‘active duty,’ Feres applies virtually as a matter of law.”95



             of the statute that Feres pretends to interpret so as to be absurd”).
                   92
                         Feres v. United States, 340 U.S. 135, 146 (1950); see also United States
             v. Brown, 348 U.S. 110 (1954); Brooks v. United States, 337 U.S. 49 (1949).
                   93
                          Whitley v. United States, 170 F.3d 1061, 1070 (11th Cir. 1999).
                   94
                          Jimenez v. United States, 158 F.3d 1228, 1229 (11th Cir. 1998) (per
             curiam).
                   95
                          Starke v. United States, 249 F. App’x 774 (11th Cir. 2007). The parties
             expend a great deal of energy on the question of whether the Government’s motion
             to dismiss on the basis of the Feres doctrine should be considered under Federal Rule
             of Civil Procedure 12(b)(1) or 12(b)(6). See, e.g., Carmichael v. Kellogg, Brown &
             Root Servcs., Inc., 572 F.3d 1271, 1279 (11th Cir. 2009) (explaining facial attack
             based solely on allegations in complaint is addressed by Rule 12(b)(6) while factual
             attack including information outside complaint considered under Rule 12(b)(1)). The
             court need not address this issue because it is clear no matter whether considering
             material outside the complaints or not, the claims of active service members are
             barred by the Feres doctrine.
                                                       40
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                   Here, there is no dispute that for at least part of their time in service Plaintiff

             military service members were on active duty at Camp Lejeune. Thus, it is clear that

             the claims of those service members that accrued while they were on active duty are

             barred by the Feres doctrine. The Plaintiffs’ alleged exposure to contaminated water

             occurred over a period of time. This is not a situation where one incident is the cause

             of injury and whether the service member was on active duty or on furlough at the

             time of that singular incident can be readily determined.96 There is no way to parcel

             the Plaintiffs’ alleged injuries between times of active duty and times of furlough.

             Given the policy considerations behind the Feres doctrine, the court rejects the

             Plaintiffs’ argument that if the service member was not on active duty for every single

             day of his time as a service member then Feres cannot apply.97




                   96
                           Cf. Elliott v. United States, 13 F.3d 1555 (11th Cir. 1994) (holding Feres
             doctrine did not apply to claim service member seriously injured by carbon monoxide
             poisoning while sleeping in base housing while on leave), vacated by 28 F.3d 1076
             (11th Cir. 1994), and 37 F.3d 617 (11th Cir. 1994) (district court order affirmed by
             operation of law due to equally divided en banc court).
                   97
                           See also Gros v. United States, 232 F. App’x 417 (5th Cir. 2007) (per
             curiam) (finding same claims of injury due to contamination by former service
             member stationed at Camp Lejeune barred by Feres doctrine); Perez v. United States,
             Civil Action No. 09-22201 (S.D. Fla. June 14, 2010) (Jordan, J.), Slip op., at 6
             (“although it is not exactly clear what precise activity or activities Mr. Perez was
             engaged in every single time he drank or used the contaminated water at the Camp,
             it is undeniable that he drank and used the water while performing at least some
             military activities in 1985 and 1986”), attached at Doc. No. [61], Ex. F.
                                                       41
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                   As to the second factor, these service members were clearly located on the

             Camp Lejeune base which points to the application of the Feres doctrine. Finally,

             while the Plaintiffs were not always engaged in a “military” activity, Feres, itself,

             makes clear that sleeping while stationed on active duty at a military base is an

             activity “incident to service” and therefore satisfies the third factor.98 Accordingly,

             the court finds that the claims raised by the Plaintiffs when they were service

             members are barred by the Feres doctrine.

                   More complicated are the “failure to warn” claims of service members arising

             after their discharge from service.99 In Cole v. United States,100 the court considered

             the claims of the representatives of a deceased service member who alleged that the



                   98
                         See Feres, 340 U.S. at 135 (holding service member acting “incident to
             service” when he was killed in fire while off-duty and sleeping in his barracks).
                   99
                            Given the procedural posture of this litigation, the court assumes for the
             purposes of discussion that the Plaintiffs are able to state a claim for a “new duty to
             warn” on the part of the Government which arose at least for some service member
             Plaintiffs after they were discharged. The court, however, is mindful of the
             comments by Judge Jordan while he considered this claim in Perez v. United States,
             before that case was transferred to the instant MDL. See Civil Action No. 09-22201
             (S.D. Fla. June 14, 2010), Slip op., at 5 n.2 (“Given the government’s alleged
             long-standing knowledge that TCE is hazardous to human health, it may be very
             difficult for the plaintiffs to prove that a new duty to warn arose from the alleged new
             knowledge about TCE’s carcinogenic qualities after Mr. Perez’s discharge in 1987
             and before the government notified Mr. Perez of the water contamination in 2008.
             But that is not the issue at this early stage.”), attached at Doc. No. [61], Ex. F.
                   100
                          755 F.2d 873 (11th Cir. 1985).
                                                        42
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             Government should have known of the dangers of radiation exposure experienced on

             a ship used for atomic bomb testing but failed to warn the service member. In

             particular, the plaintiffs claimed that after the service member was discharged from

             active duty, the Government’s knowledge of the dangers “expanded” to the point

             where a “new duty to warn” was triggered.101

                   The court recognized that the courts of appeal “universally applied the Feres

             doctrine to bar such suits in which the duty to warn originated when the injured

             serviceman was in the armed forces and merely continued after discharge.”102 But the

             Cole court found that the plaintiffs’ allegations of post-discharge conduct by the

             Government would take the claim outside of the Feres bar. The Court stated:

                   Our review of the law in this area suggests that in a case alleging a
                   failure by the government to warn of in-service active-duty exposure to
                   hazardous substances, the crucial inquiry is whether the purported
                   conduct of the government giving rise to the plaintiff’s cause of action
                   occurred while the injured party was still a member of the armed forces.
                   Under this standard, the claim in the plaintiffs’ proposed amendment
                   would not be barred by the Feres doctrine. The relevant ‘injury’ here is
                   the aggravation or perpetuation of Cole’s radiation-induced condition
                   due to the government’s failure to discharge its new duty to warn. It is
                   urged that the conduct by the United States causing this injury occurred
                   entirely after he left the service.103


                   101
                          Id. at 875.
                   102
                        Id. at 876 (collecting cases); see also Stanley v. Central Intelligence
             Agency, 639 F.2d 1146 (5th Cir. Unit B 1981).
                   103
                          Id. at 877 (footnotes and citations omitted).
                                                      43
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             Cole contains an extensive policy discussion of why the court found that the post-

             discharge allegations did not implicate the policy behind Feres.104

                   The court, however, need not resolve whether the “post-discharge” failure to

             warn claims would survive Feres because the Government argues in the alternative

             that even if they do under Cole, the Plaintiffs’ failure to warn claims are barred by the

             discretionary function doctrine. The court addresses this argument below. For the

             foregoing reasons, the court GRANTS the Government’s motion to dismiss on the

             basis of the Feres doctrine [61]; DENIES AS MOOT the Plaintiffs’ motion for oral

             argument [72]; DENIES AS MOOT the Plaintiffs’ motion for extension of time to

             complete discovery and to stay [83]; and GRANTS the Government’s motion to

             dismiss as to the Feres doctrine [127].

                          C.     Motion to Dismiss (Discretionary Function Exception)105

                   104
                         Id. at 877-80; see also Maas v. United States, 94 F.3d 291, 295-98 (7th
             Cir. 1996) (permitting post-discharge failure to warn claims as outside Feres
             doctrine).
                   105
                            The court recognizes that one of the cases originally consolidated into
             the MDL was further along in the pipeline than the others. See Laura Jones v. United
             States, Civil Action No. 7:09-CV-106-BO (E.D.N.C.). In Jones, the Honorable
             Terrence Boyle, in the United States District Court for the Eastern District of North
             Carolina, held that the statute of repose did not apply to Jones’ claims. See Jones v.
             United States, 751 F. Supp. 2d 835 (E.D.N.C. 2010). Shortly after the MDL was
             consolidated in the Northern District of Georgia, the court considered briefing from
             the parties as to whether the Jones decision had any binding precedential effect on the
             court’s analysis going forward. In the interim, however, the court dismissed Plaintiff
             Jones on the basis of judicial estoppel. Thus, Jones, was no longer part of the MDL
                                                        44
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                    The Plaintiffs raise a variety of negligence claims against the Government: (1)


             and the court did not need to reach any conclusions as to the precedential effect of
             Judge Boyle’s order.
                     In a brief discussion in a separate order, Judge Boyle concluded that certain
             Navy regulations and base orders gave mandatory direction to the Government with
             respect to the water supply system at Camp Lejeune and therefore the discretionary
             function exception did not apply. See Jones v. United States, 691 F. Supp. 2d 639
             (E.D.N.C. 2010). The Plaintiffs again argue in their response to the Defendant’s
             motion to dismiss on the basis of the discretionary function exception that Judge
             Boyle’s order in Jones should be “law of the case” in this MDL despite the fact that
             Jones was dismissed.
                     The Plaintiffs rely on two cases for their “law of the case” argument. See In
             re Ford Motor Co., 591 F.3d 406 (5th Cir. 2009) and In re Pharmacy Benefit
             Managers Antitrust Litig., 582 F.3d 432 (3d Cir. 2009). But Ford discusses the
             obligations of the “transferor” court in receiving the orders of the “transferee” court
             in an MDL. Although perhaps confusing, the “transferee” court in these cases is the
             court in front of which the MDL was consolidated. The “transferor” court is the court
             in which the individual case originated. Of course, at the conclusion of the pretrial
             MDL proceedings, the MDL “transferee” court returns the individual case to the
             originating “transferor” court. It is this “remand” after completion of the pretrial
             matters that occupies the analysis in Ford. That is not the situation before this MDL
             court in determining whether Judge Boyle’s orders are “law of the case.”
                     Even Pharmacy Benefit Managers – which discusses the deference the MDL
             court should give to an order already entered in a transferred action – does not
             mandate that the MDL court accept all previous rulings made in a case. Pharmacy
             Benefit Managers recognizes that the “law of the case” doctrine is a discretionary
             doctrine. The MDL “transferee” court may take into account the degree to which a
             “transferor” court may have analyzed a particular legal issue. See In re Bank of
             America Wage & Hour Emp’t Litig., MDL No. 2138, 2010 WL 4180530 (D. Kan.
             Oct. 20, 2010) (declining to consider order of transferor court as “law of the case”
             where basis of order “unknown”).
                     In any event, as it found above, the court need not reach any conclusion about
             the “law of the case” because the Jones case has been dismissed. But the court notes
             that the discretionary function exception is a very significant feature of this litigation.
             It is difficult for the court to perceive that the decision from an individual case would
             bind the remaining MDL cases before any opportunity for all parties to conduct
             discovery and engage in briefing and argument on the issue.
                                                         45
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             disposal of pollutants and contaminants at Camp Lejeune, (2) failure to protect the

             Camp Lejeune water supply from contamination, (3) failure to investigate and

             remediate contamination, and (4) failure to adequately warn inhabitants of exposure

             to contaminated water. The Government contends that even if these claims were not

             barred by the statute of repose, the Plaintiffs’ negligence and “failure to warn” claims

             are also barred by the “discretionary function” exception to the Federal Tort Claims

             Act. The Plaintiffs respond that the discretionary function exception is not applicable

             because the regulations issued by the Navy Bureau of Medicine and Surgery

             (“BUMEDs”) as well as other regulations provided mandatory duties and specific

             courses of action with respect to safe water supply such that the Government’s

             obligations in this area were ministerial and not discretionary. The Plaintiffs further

             argue that the Government made the choice to provide its own water supply at Camp

             Lejeune rather than use the local municipality’s water, and thus, these actions become

             akin to business or routine maintenance of property.

                   As the court explains above, there are exceptions to the Government’s liability

             under the FTCA. One of those is the “discretionary function” exception contained

             in 28 U.S.C. § 2680(a).106 “These exceptions must be strictly construed in favor of

             the United States, and when an exception applies to neutralize what would otherwise


                   106
                          See, e.g., Zelaya v. United States, 781 F.3d 1315, 1322 (11th Cir. 2015).
                                                       46
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             be a waiver of immunity, a court will lack subject matter jurisdiction over the

             action.”107

                    Section 2680(a) exempts from FTCA liability:

                    (a) Any Claim based upon an act or omission of an employee of the
                    Government, exercising due care, in the execution of a statute or
                    regulation, whether or not such statute or regulation be valid, or based
                    upon the exercise or performance or the failure to exercise or perform
                    a discretionary function or duty on the part of a federal agency or an
                    employee of the Government, whether or not the discretion involved be
                    abused.108

             “In short, the discretionary function exception serves to preserve sovereign immunity

             for any claim that is based on a federal agency or employee’s performance or

             nonperformance of a discretionary task, even if, in so acting, the agency employee

             may have abused his discretion.”109

                    “In guiding the courts’ application of the discretionary function exception, the

             Supreme Court has formulated a two-part test. First, the conduct that forms the basis

             of the suit must involve an element of judgment or choice by the employee.”110 “In

             determining whether judgment or choice is present in the particular conduct at issue,



                    107
                           Id. (quotation and citation omitted).
                    108
                           Id.
                    109
                           Id. at 1329.
                    110
                           Id. (citing Berkovitz v. United States, 486 U.S. 531, 536 (1988)).
                                                       47
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             the inquiry focuses on whether the controlling statute or regulation mandates that a

             government agent perform his or her function in a specific manner.”111 “If a federal

             statute, regulation, or policy specifically prescribes a course of action for an

             employee to follow, the Government will have failed to show that the action at issue

             allowed for the employee’s exercise of judgment or choice because, in that case, the

             employee had no rightful option but to adhere to the directive.”112 “Conversely, unless

             a federal statute, regulation, or policy specifically prescribes a course of action

             embodying a fixed or readily ascertainable standard, it will be presumed that the

             particular act involved an element of judgment or choice.”113

                   “If the Government has met this first element of the test for applying the

             exception, then the second part of the test requires the court to determine whether that

             judgment is of the kind that the discretionary function exception was designed to

             shield.”114 “A particular decision will be of the kind protected by the exception if it

             is the type of decision that one would expect to be inherently grounded in

             considerations of policy.”115 “Indeed, when a government agent is permitted to

                   111
                          Id. (quotations and citations omitted).
                   112
                          Id. at 1329-30 (quotation and citation omitted).
                   113
                          Id. at 1330 (quotation and citations omitted).
                   114
                          Id. (quotation and citation omitted).
                   115
                          Id.
                                                       48
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             exercise discretion in making a particular decision – whether that permission is

             express or implied – it must be presumed that the agent’s acts are grounded in policy

             when exercising that discretion.”116 “Finally, in examining whether an employee’s

             discretion is of the type grounded in public policy, one uses an objective test, and the

             employee’s subjective intent is irrelevant.”117

                    The court finds here that its ruling on the discretionary function exception is

             a matter properly considered under Rule 12(b)(1) subject-matter jurisdiction.118

             Because the court permitted a period of discovery on the discretionary function

             exception, the court finds that this is not simply a facial challenge to which the court

             would need to assume the truth of the allegations in the complaints and proposed

             amended complaints, rather the court views this as a factual challenge pursuant to

             which the Plaintiffs bear the burden of proof to show that a waiver of sovereign




                    116
                           Id. (quotation and citation omitted).
                    117
                           Id.; see also United States v. Gaubert, 499 U.S. 315, 325 (1991) (focus
             of inquiry is “not on the agent’s subjective intent . . ., but on the nature of the actions
             taken and on whether they are susceptible to policy analysis”).
                    118
                          See Zelaya, 781 F.3d at 1338-39 (detailed discussion on jurisprudential
             considerations of Rule 12(b)(6) or Rule 12(b)(1) dismissal). Further, for the same
             reasons as addressed in Zelaya, the court finds the result would be the same whether
             the court considered the arguments pursuant to Rule 12(b)(1) or Rule 12(b)(6). Id.
                                                         49
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             immunity exists.119 Thus, the court may consider matters outside of the pleadings to

             determine whether it has subject-matter jurisdiction.120

                   Based on the arguments presented by the Plaintiffs, the court finds there is

             some confusion in the briefing in distinguishing between the issue of negligence and

             the issue of whether a specific federal statute or regulation provided guidance such

             that any action taken or not taken was not a matter of discretion, but rather was

             mandatory. For this reason, the court finds it useful to give more measured

             consideration to Autery v. United States.121 In Autery, the plaintiffs filed suit against

             the United States for death and injuries sustained by passengers in an automobile

             when two black locust trees fell on their car in the Great Smoky Mountain National

             Park. Over a decade before the accident, the National Park Service had issued a

             “directive” which stated:



                   119
                           See, e.g., Odyssey Marine Exploration, Inc. v. Unidentified Shipwrecked
             Vessel, 657 F.3d 1159, 1169 (11th Cir. 2011); OSI, Inc. v. United States, 285 F.3d
             947, 951 (11th Cir. 2002). Citing Whisnant v. United States, 400 F.3d 1177, 1181
             (9th Cir. 2005), the Plaintiffs argue that the Government bears the burden of
             demonstrating the applicability of the discretionary function exception. The Eleventh
             Circuit does not apply the burden in the same manner as the Ninth Circuit. See also
             S.R.P. ex rel. Abunabba v. United States, 676 F.3d 329, 333 (3d Cir. 2012) (holding
             Government bears burden of proving discretionary function exception).
                   120
                          See, e.g., McMaster v. United States, 177 F.3d 936, 940 (11th Cir.
             1999).
                   121
                          992 F.2d 1523 (11th Cir. 1993).
                                                        50
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                   Protection of the visitor, and park and concessioner employees, from
                   violations of laws and regulations and from hazards inherent in the park
                   environment, is a prime responsibility of the National Park Service. The
                   saving and safeguarding of human life takes precedence over all other
                   park management activities, whether the life is of the visitor,
                   concessioner, or park employee. . . .122

             Pursuant to that directive, the unwritten policy at the time of the accident was to

             “make every reasonable effort within the constraints of budget, manpower, and

             equipment available to detect, document, remove, and prevent tree hazards.”123

             Under this policy, rangers would visually inspect trees and report back any known

             hazardous trees for removal.124 Natural resources specialists at the Park were also

             aware of the special danger facing black locust trees due to bore infestation and the

             accompanying recommendation to remove such trees.125         Park personnel met to

             discuss the information about black locust trees.126




                   122
                          Id. at 1525.
                   123
                          Id.
                   124
                          Id.
                   125
                          Id.
                   126
                          Id.
                                                      51
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                   In carefully considering both United States v. Gaubert,127 and Berkovitz v.

             United States,128 the Autery court first analyzed what policy issue was before it. The

             court stated:

                   The district court’s inquiry, on the other hand, by asking whether the
                   park officials had discretion to remove “hazardous” trees, begs the
                   question. The tree inspection program was designed to identify which
                   trees were hazardous. Whether park personnel had discretion in
                   executing that plan is the relevant issue. The district court’s analysis
                   appears to collapse the question of whether the Park Service was
                   negligent into the discretionary function inquiry. That is, after finding
                   that the Park Service had knowledge of the danger of black locust trees,
                   the district court imposed a “reasonableness” requirement on the
                   government’s conduct.129

             The court found, instead, that it “is the governing administrative policy, not the Park

             Service’s knowledge of danger, however, that determines whether certain conduct is

             mandatory for purposes of the discretionary function exception. The FTCA expressly

             provides that the exception applies to policy judgments, even to those constituting

             abuse of discretion.”130 The court further stated “the relevant inquiry here is whether

             controlling statutes, regulations and administrative policies mandated that the Park

             Service inspect for hazardous trees in a specific manner. If not, then the Park


                   127
                             499 U.S. 315 (1991).
                   128
                             486 U.S. 531 (1988).
                   129
                             992 F.2d at 1528 (footnote omitted).
                   130
                             Id. (quotation and citation omitted).
                                                         52
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             officials’ decision to employ a particular inspection procedure—and its execution of

             that plan—is protected by the discretionary function exception.”131

                   The Autery court found that the Park Service had granted rangers discretion in

             inspecting trees and in determining which trees should be removed. The court

             distinguished Phillips v. United States,132 noting that the tree inspection plan did not

             “compel park employees to inspect certain trees on certain days or remove a

             particular number of trees per week.”133 Ultimately, the Autery court found that there

             was no specific mandatory policy that removed discretion; and that the decisions of

             the Park rangers were grounded in social, economic, and public policy such that the

             discretionary function exception applied.134

                   Similarly, here, the Plaintiffs argue that the Government failed in following the

             regulation that the water supply at Camp Lejeune should not be contaminated. But

             whether contamination occurred due to negligence is not the relevant inquiry; rather

             the question is whether any federal statute or regulation presented sufficiently specific

             instructions to base personnel on how to provide for a safe water supply.



                   131
                          Id.
                   132
                          956 F.2d 1071 (11th Cir. 1992).
                   133
                          992 F.2d at 1529.
                   134
                          Id. at 1530-31.
                                                        53
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                          1.     Federal Statute or Regulation

                   The first step on the discretionary function analysis is whether the conduct of

             the officials at Camp Lejeune was controlled by a statute or regulation that mandated

             the government agent perform in a specific manner. Over the course of the litigation,

             the Plaintiffs have pointed to several different federal statutes or regulations they

             believe set forth mandatory duties on the part of the Government.135 Although there

             is no master complaint at this point in the litigation, the court will consider all

             arguments raised by the Plaintiffs in their briefing and in their proposed amended

             complaints. In their first response to the Government’s motion to dismiss on the basis

             of the discretionary function exception, the Plaintiffs argued that mandatory

             obligations were set forth in the 1974 Federal Safe Drinking Water Act and its 1996

             amendments.136

                   The Safe Drinking Water Act of 1974 authorized the Environmental Protection

             Agency to regulate drinking water standards for public water supplies.137 The EPA


                   135
                           The Plaintiffs sporadically make reference to the fact that they requested
             and did not receive certain items from the Government in discovery. The court is not
             persuaded by these comments as the Plaintiffs did not pursue any recourse with the
             court during the period of discovery on the Feres doctrine and the discretionary
             function exception.
                   136
                          See Doc. No. [136], Plaintiff Bryant’s Proposed Amended Complaint,
             ¶¶ 106-07.
                   137
                          See 42 U.S.C. §§ 300f et seq.
                                                       54
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             established a priority of substances it would begin to regulate and it began to set

             Maximum Contaminant Levels as enforceable standards.138 The initial list, effective

             in 1977, contained only ten substances, none of which were the relevant contaminants

             to Camp Lejeune.139 Under a general category of “chlorinated hydrocarbons,” the

             EPA regulated four pesticides – endrin, lindane, methoxychlor, and toxaphene.140

                   In the early 1980s, the Environmental Protection Agency announced that it

             would begin the process of developing regulations for volatile organic chemicals such

             as those at issue here.141 The chemicals that the Plaintiffs specify in their complaints

             are benzene, trichloroethylene (TCE), tetrachloroethylene (PCE), dichloroethene

             (DCE), and vinyl chloride. The Government’s expert, Dr. Davis Ford, testified that

             the DCE and vinyl chloride detected in the ground at Camp Lejeune are “daughter

             products” of PCE and TCE and likely resulted from the use and disposal of TCE and

             PCE at Camp Lejeune.142 He further noted that benzene is generally present in the




                   138
                          See 48 Fed. Reg. 45502 (Oct. 5, 1983).
                   139
                          See Doc. No. [79], Ex. 36.
                   140
                          See Doc. No. [62], Ex. 14 (40 Fed. Reg. 59570 (Dec. 24, 1975)).
                   141
                          Id.
                   142
                          See Doc. No. [62], Ex. 9 at 17.
                                                       55
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             environment, usually as a result of industrial activities, storage tanks, and vehicle

             maintenance.143

                   In 1984, the EPA issued a proposal for “recommended” maximum

             contamination levels for TCE, PCE, DCE, and vinyl chloride.144 It was not until 1989

             that the EPA issued final regulations for enforceable maximum contamination levels

             for benzene, TCE, and vinyl chloride.145 Final levels for DCE and PCE were not

             effective until 1992.146 Likewise, and significantly, the BUMEDs did not specifically

             list benzene, vinyl chloride, TCE, and DCE until the 1993 update to BUMED

             6240.10 after the Camp Lejeune contaminated wells were closed.147

                   The Plaintiffs also refer to Base Order 5100.13B governing the Safe Disposal

             of Contaminants or Hazardous Waste (including organic solvents) which provides

             that commanders and officers will “cause periodic inspections to be made of




                   143
                          Id. at 12-13.
                   144
                          Id., Ex. 37.
                   145
                          See Doc. No. [62], Ex. 10.
                   146
                          Id., Exs. 9 and 11.
                   147
                         Id., Exs. 18 (noting that these substances only recently had “maximum
             contamination levels” set by EPA) and 19 (adding tetrachloroethylene (PCE) to
             BUMED instruction based on newly enacted EPA regulation).
                                                       56
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             contaminants and hazardous materials in stock to determine serviceability.”148 The

             Base Order also states that the Base Safety Manager “will direct safe disposition of

             subject waste not salable or usable.”149

                   The Plaintiffs rely most extensively150 on the following provisions of the

             BUMEDs:

                   6a.    The water supply should be obtained from the most desirable
                          source which is feasible, and effort should be made to control
                          pollution of the source. If the source is not adequately protected
                          by natural means, the supply shall be adequately protected by
                          treatment.151

             The BUMED further specified that “adequate protection by treatment means any one

             or any combination of the controlled processes of coagulation, sedimentation,


                   148
                           See Base Order, § 4a. The Base Order is attached as Exhibit 9 to the
             Plaintiffs’ response to the Defendant’s motion to dismiss on the basis of the
             discretionary function exception. See Doc. No. [70].
                   149
                          Id. at § 4a(3).
                   150
                          The Plaintiffs specifically disavow any reliance on the Clean Water Act,
             the Resource Conservation Recovery Act (“RCRA”) or Suggested No Adverse
             Response Levels (“SNARLS”). See Doc. No. [70], at 6 n.4. To the extent that any
             individual Plaintiff would rely on the SNARLS, see Doc. No. [126], ¶¶ 52-54, as the
             name indicates, such levels were only “suggested” and therefore could not form the
             basis of any specific mandatory direction to base officials.
                   151
                           See BUMED 6240.3B (effective September 30, 1963); BUMED
             6240.3C (effective August 25, 1972). The 1963 BUMED is attached as Exhibit 2 to
             the Plaintiffs’ response to the Defendant’s motion to dismiss on the basis of the
             discretionary function exception. See Doc. No. [70]. The 1972 BUMED is attached
             as Exhibit 6.
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             absorption, filtration, disinfection or other processes which produce a water

             consistently meeting the requirements of these standards.”152

                   It continued:

                   6b.    Frequent sanitary surveys shall be made of the water supply
                          system to locate and identify health hazards which might exist in
                          the system.153

             A “health hazard” is defined as including “a structural defect in the water supply

             system, whether of location, design, or construction which may regularly or

             occasionally prevent satisfactory purification of the water supply or cause it to be

             polluted from extraneous sources.”154

                   Moreover, section 7 of the BUMED discussed the standards or limits generally

             contained in the 1962 Public Health Service Drinking Water Standards.

                   7(c). Chemical characteristics: limits. Drinking water shall not contain
                   impurities in concentrations which may be hazardous to the health of the
                   consumers. It should not be excessively corrosive to the water supply
                   system. Substances used in its treatment shall not remain in the water
                   in concentration greater than required by good practice. Substances
                   which may have deleterious physiological effect, or for which
                   physiological effects are not known, shall not be introduced into the
                   system in a manner which would permit them to reach the consumer.155


                   152
                          Id., § 5b.
                   153
                          Id., § 6b.
                   154
                          Id., § 5d.
                   155
                          Id., § 7c.
                                                      58
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             The 1972 BUMED specifies that the “presence of the following substances in excess

             of the concentrations listed shall constitute grounds for rejection of the supply [listing

             values for specific substances].” Under “pesticides” one of those substances was

             listed as “chlorinated hydrocarbons.”156

                   The Plaintiffs then allege that the Government was “fraudulent” and “willfully

             and wantonly negligent in failing to follow [the] mandate” of the BUMEDs and

             “failed to exercise due care” by causing or allowing pollutants and contaminants such

             as “trichloroethylene (TCE), as well as PCE and refined petroleum produces, such as

             benzene, toluene, ethylbenzene, and xylenes (BTEX)” to leak and contaminate the

             base water supply.157

                   As to the relevance of the BUMEDs, the court finds OSI, Inc. v. United

             States,158 to be most directly applicable to this case. In OSI, a neighboring property

             owner sued the Government for damages allegedly resulting from contamination

             caused by the dumping of hazardous substances at Maxwell Air Force base. The

             plaintiff argued that the decisions made by the Air Force base regarding the disposal

             of hazardous substances were not subject to the discretionary function exception


                   156
                          See BUMED 6240.3C, § 7(3)d(2).
                   157
                          See Wright Proposed Am. Cmplt., ¶ 67; Bryant Proposed Am. Cmplt.,
             ¶¶ 262-64.
                   158
                          285 F.3d 947 (11th Cir. 2002).
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             because certain manuals that governed landfill disposal decisions created mandatory

             obligations on the part of the Government.159

                    The court found that the manual in question made it an “objective” to protect

             water sources in the disposal of hazardous materials.160 Ultimately, the OSI court

             held “that an agency manual which provides only objectives and principles for a

             government agent to follow does not create a mandatory directive which overcomes

             the discretionary function exception to the FTCA.”161 The court also found that the

             “nature of the military’s function requires that it be free to weigh environmental

             policies against security and military concerns. We hold that the decisions at issue

             here reflect the kind of judgment that the discretionary function exception is designed

             to shield.”162

                    The Plaintiffs are correct that the BUMEDs use mandatory language with

             respect to the need to deliver clean drinking water. Significantly, however, the



                    159
                              Id. at 951.
                    160
                         Id. (citing to facts as established in Aragon v. United States, 146 F.3d
             819, 826 (10th Cir. 1998) which considered same regulations as cited by plaintiff in
             OSI).
                    161
                              Id. at 952.
                    162
                           Id. at 953; see also Slappey v. U.S. Army Corps of Eng’rs, 571 F. App’x
             855 (11th Cir. 2014); Snyder v. United States, 504 F. Supp. 2d 136 (S.D. Miss. 2007),
             aff’d, 296 F. App’x 399 (5th Cir. 2008).
                                                       60
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             manner in which this objective was to be achieved was left to the agency. For

             example, as the Plaintiffs themselves point out, the “grounds for rejection” language

             is a term of art from the 1962 Public Health Service Drinking Water Standards.163

             But those standards contain discretion because the “grounds for rejection” limits are

             “limits, which should not be exceeded when more suitable water supplies can be

             made available” and the limits are “based on factors which render a supply less

             desirable for use.”164

                   The question is not whether Camp Lejeune was under a directive to provide a

             clean water supply; the question is whether those responsible for the required clean

             water supply had any discretion in the manner in which that supply was to be

             achieved.165 The fact that BUMEDs were orders that had to be followed by the

             Marine Corps does not mean that the BUMEDs contained specific mandatory

             instructions for how to achieve a clean water supply that removed any discretion from



                   163
                          See Doc. No. [70], Ex. 5.
                   164
                          Id. at 22.
                   165
                          It is for this reason that the Plaintiffs’ emphasis on the testimony of the
             Defendant’s Rule 30(b)(6) witness, Dr. Davis Ford, is inapposite. See Doc. No. [70],
             at 26-31. Dr. Ford clearly testified that BUMEDs were public health directives that
             could not be disregarded and the BUMEDs contained certain minimum requirements
             for water quality. But this testimony does not answer the question in the first step of
             the discretionary function analysis – whether there was a specific mandatory policy
             that had to be followed on how to assure water quality.
                                                       61
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             the part of those responsible for the water supply at Camp Lejeune. There simply is

             no question here but that there were a myriad of discretionary decisions that had to

             be made about how to provide clean water at Camp Lejeune.166

                   The Base Order also does not specify any particular contaminants and gives

             base officials discretion to determine whether an item is salable or serviceable and

             where it should be disposed. There are no mandatory or specific methods of disposal

             required in the Base Order. Similarly, in Autery, the mandatory directive was that

             “saving and safeguarding of human life takes precedence over all other park

             management activities,” but the manner in which that prime responsibility was

             achieved was left to the discretion of the Park Service employees. In Rodriguez v.



                   166
                            Finally, the Plaintiffs point to the provision of the 1972 BUMED which
             stated that “[f]requent sanitary surveys shall be made of the water supply system” and
             argue – without citation – that no such surveys were ever conducted. The
             Government, however, proffered testimony from Julian Wooten, Director of Camp
             Lejeune’s Office of Natural Resources and Environmental Affairs in the 1980s that
             he had worked in a “potable water” laboratory at Camp Lejeune and had done a
             variety of testing on substances such as bacteria, chloroform bacteria, possibly
             salinity, and chlorine and fluoride. See Doc. No. [79], Ex. 39, Wooten Depo., at
             1-12, 22-27. The Government has also produced records of water supply evaluations
             conducted from the late 1950s to the 1970s, including the first six “chlorinated
             hydrocarbon” pesticides listed in the initial implementation of the Safe Drinking
             Water Act regulations. See id., Exs. 40-42. These reports are quite lengthy and
             detailed. To the extent they address the complexity of providing an adequate water
             supply, they are more evidence of the fact that decisions with regard to the water
             supply required a great deal of discretion and the balancing of logistics and
             capabilities.
                                                      62
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             United States,167 the regulations governing the provision of exercise equipment to

             detainees at an immigration holding facility provided that the facility had to offer

             “safe” conditions for the use of the equipment, but it did not “point to the manner”

             in which the facility was to provide those conditions.168 Thus, the court determined

             that there was discretion and choice in the manner in which the facility set up the

             exercise equipment.169

                   The Plaintiffs’ own industrial hygiene expert, Andrew Havics, likewise

             testified that the Safe Drinking Water Act began to set national standards through the

             issuance of recommended maximum contamination levels and then enforceable

             maximum contamination levels.170 But levels for benzene, TCE, and vinyl chloride

             were not proposed until 1987, and PCBs not proposed until 1991.171

                   The 1972 BUMED referenced by the Plaintiffs only regulates a category of

             “chlorinated hydrocarbons” as a part of the “pesticides” category. The 1972 BUMED

             was based on the 1962 Public Health Service Drinking Water Standards which did

             not regulate any of the “volatile organic solvents” at issue here. As described above,

                   167
                          415 F. App’x 143 (11th Cir. 2011).
                   168
                          Id. at 146.
                   169
                          Id.
                   170
                          See Doc. No. [71], Havics Aff., ¶ 23.
                   171
                          Id., ¶ 25.
                                                      63
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             the EPA only regulated “chlorinated hydrocarbons” as part of pesticides. The

             Government’s experts, Dr. Davis Ford (environmental engineer) and Dr. Remy

             Hennet (geochemist) both testified that the types of chemicals that caused the relevant

             contamination here were not regulated prior to 1985 when the Camp Lejeune wells

             closed. Dr. Hennet provided testimony about the use of the term “chlorinated

             hydrocarbon” in the BUMEDs. He testified that the term “chlorinated hydrocarbon”

             referred to a class of “pesticides, herbicides, and fungicides” and not the volatile

             organic compounds such as TCE and PCE.172 The Plaintiffs express disdain for the

             Government’s distinction between “pesticides” and “organic solvents” because both

             are “poisons” and the source does not matter to the “health and welfare of our

             Marines and their families.”173 Of course, this is not the applicable inquiry. The

             question is whether there were specific mandatory regulations concerning certain

             substances that the Plaintiffs allege were present in the Camp Lejeune water supply.

             When viewed through this lens, whether those substances are characterized as

             “pesticides” or “organic solvents” is very relevant to the inquiry of whether certain

             regulations mandated limits as to contaminants. The Plaintiffs’ expert agreed on the

             characterization of these chemicals.



                   172
                          See Doc. No. [62], Ex. 20, ¶ 5 (Hennet Decl.).
                   173
                          See Doc. No. [70], at 31-32.
                                                       64
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                   The Plaintiffs offered the testimony of Dr. Benjamin Ross and Steven Amter

             that it was generally known that organic solvents have “carcinogenic properties” as

             early as the late 1940s. But there is no information in the record which would support

             an argument that there was any specific mandatory regulation from any source

             governing contamination by volatile organic substances, benzene, TCE, DCE, PCE,

             or vinyl chloride. Nor, for that matter, is the Government’s knowledge as to the

             danger of any particular relevance. As the court noted in Autery, Park Service

             personnel certainly had knowledge that the black locust trees were dangerous, but

             they also had the discretion to determine a course of action to deal with that danger.

             Therefore, the court finds that the Plaintiffs have not established the existence of any

             mandatory regulation for the relevant contaminant volatile organic compounds until

             after the wells at Camp Lejeune were closed.

                   The source of the Plaintiffs’ contention that the Government had an obligation

             to “warn” is not clear to the court. In response to the Government’s motion to

             dismiss on the discretionary function exception, the Plaintiffs argue that a new duty

             to warn arose from the Safe Water Drinking Act of 1974 and its amendments

             addressing levels of exposure in 1987 and 1991. But those pieces of legislation

             addressed levels of contaminants and did not give any mandatory and specific

             instruction on the duty to warn individuals no longer served by the drinking water


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             supply. Accordingly, the court finds that the Plaintiffs have not pointed the court to

             any mandatory non-discretionary federal regulations that would have directed the

             Government to warn any former service members. The first specific notification

             provisions regarding Camp Lejeune appeared in legislation in 2006 and 2008.174

                   In 2006, Congress mandated that the Government “take appropriate action” to

             locate and inform former military personnel and residents of the contamination of the

             water supply after the completion of the study by the Agency for Toxic Substances

             and Disease Registry (“ATSDR”) on the relationship of childhood cancers and birth

             defects to the contaminated drinking water at Camp Lejeune.175 The 2008 Act

             requires the Secretary of the Navy to “make reasonable efforts to identify and notify

             directly individuals who were served by the Tarawa Terrace Water Distribution

             System.”176 The court finds that neither of these statutes provides specific nor

             mandatory procedures on notification and such decisions were still within the

             discretion of the Government.




                   174
                         See Pub. L. No. 109–364, § 318, 120 Stat. 2083, 2143-2144 (Oct. 17,
             2006) and Pub. L. No. 110-181, § 315, 122 Stat. 3, 56-57 (Jan. 28, 2008).
                   175
                          See Pub. L. No. 109–364, § 318, 120 Stat. 2083, 2143-2144 (Oct. 17,
             2006).
                   176
                          See Pub. L. No. 110-181, § 318.
                                                      66
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                   In her proposed amended complaint, Plaintiff Wright also lists several

             occasions upon which she contends a duty to warn arose. The Plaintiffs allege that on

             October 21, 1980, data was collected from various water sources at Hadnot Point on

             an HHTM Surveillance Form.177 The form noted that the water was “highly

             contaminated with low molecular weight halogenated hydrocarbons.”178 A second

             data collection form taken on December 18, 1980 reports “heavy organic

             interference” with the detection of certain chemical compounds and recommends

             testing by a different method.179 On February 26, 1981, the report indicated that

             “water highly contaminated with other chlorinated hydrocarbons (solvents).”180 An

             August 1982 report of Grainger Laboratories found the presence of chlorinated

             hydrocarbons which would impact health and therefore were brought to the attention

             of Camp Lejeune officials.181 Exhibit H also contains a series of memos which

             documents additional testing of samples and analysis performed by Grainger

             Laboratories with comments from base scientific personnel.182 The memos confirm


                   177
                          See Doc. No. [130], Ex. E.
                   178
                          Id.
                   179
                          Id., Ex. F.
                   180
                          Id., Ex. G.
                   181
                          Id., Ex. H.
                   182
                          Id.
                                                       67
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             that trichloroethylene (TCE) and tetrachloroethylene (PCE) were not regulated

             substances although SNARLS existed for some of the substances.183 The memos also

             generally reflect the beginning efforts to identify the source of the contamination.184

             But nothing in these memos triggered a duty to warn or specified any manner in

             which to notify residents.

                   Finally, Plaintiff Wright identifies as an individual act of negligence an April

             1982 memo to residents of Tarawa Terrace which noted that the base was having

             “serious problems” providing sufficient water supply to residents because some wells

             had been taken out of service due to “trace” amounts of contaminants.185

                   On September 1, 2008, as part of the effort to comply with congressional

             mandates that the Department of the Navy make efforts to reach all residents of Camp

             Lejeune, the Navy worked with the Internal Revenue Service to send notices to

             residents for whom the Navy did not have a current address.186 The notice indicated

             it related to water quality at Camp Lejeune and encouraged individuals to sign up for




                   183
                          Id.
                   184
                          Id.
                   185
                           Id., Ex. K; see also Doc. No. [70], at 44-45 (citing at Ex. 15 this 1985
             notice to residents of Tarawa Terrace).
                   186
                          See Doc. No. [164], Ex. F.
                                                       68
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             a notification registry.187 It indicated that unregulated chemicals had been in the

             water in the early 1980s and the Navy was attempting to assess the health impact.188

             Again, the language of the statute was not specific in the manner in which the

             Department of Navy should go about making these contacts or the language that

             should be used in the notifications. For all of these reasons, the court finds there was

             no federal statute or regulation that mandated a government agent perform his

             function in a specified manner.

                          2.     Implications for Policy Concerns

                   The second step in the discretionary function analysis is whether the judgment

             that must be exercised by the Government agents is the kind the discretionary

             function doctrine was intended to shield. The Government points out that the policy

             considerations in this matter included: providing adequate water supply to the base,

             maintaining military readiness, prioritizing military obligations with limited financial

             resources, addressing drinking water standards for those substances actually

             regulated, and working within the greater Department of Defense Installation

             Restoration Program (“IRP”) and the Navy’s Assessment and Control of Installation

             Pollutants (“NACIP”). These two programs encompass the Department of Defense’s



                   187
                          Id.
                   188
                          Id.
                                                       69
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             consolidated effort to address contaminated military sites throughout the United

             States through the establishment of priority listings similar to the EPA Superfund site.

                   As OSI and Aragon make clear, the direction of resources on a military base

             during the Cold War is a classic illustration of the kind of balancing of national

             security and economic policies that should be protected by the discretionary function

             exception. The court is not persuaded otherwise by the authority cited by the

             Plaintiffs. In Gibson v. United States,189 the plaintiff sued the Department of Navy

             when he slipped and fell while inspecting FEMA mobile homes to be sold at an

             auction. The court likened the Government’s role here as the same as any other

             “business.” But the provision of clean water is a classic government function and not

             that of a “business.” Furthermore, the disposal of hazardous material is not the type

             of “routine property maintenance” contemplated in Gibson. Nor is it the type of

             problem that can be resolved with “garden-variety remedial steps” as contemplated

             in S.R.P. ex rel. Abunabba v. United States.190




                   189
                          809 F.3d 807 (5th Cir. 2016).
                   190
                           676 F.3d 329, 338 (3d Cir. 2012). The court might further note that the
             Abunabba court actually held that the discretionary function exception applied where
             the plaintiff was bitten by a barracuda while playing near the shore of a national
             monument and had alleged that the Government should have posted additional
             warning signs. Id. at 338.
                                                       70
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                   Finally, the Plaintiffs argue that the Government should not be permitted to

             utilize the discretionary function exception because they have alleged that the

             negligent conduct was marked by individual carelessness or laziness.191 It does not

             appear that the Eleventh Circuit has recognized this carve out to the discretionary

             function exception.192 Moreover, nothing in the allegations made by the Plaintiffs can

             be characterized by individual carelessness or laziness. As the court explained above,

             there is no evidence that the Government refused to conduct water quality surveys.

             All of the cases cited by the Plaintiffs involved single instances of negligence or

             failure to conduct some kind of inspection. The evidence in the record shows that the

             implications of dumping, leaking, and contamination were not fully understood until

             the mid-to-late 1980s, when the Government began regulating these substances. A

             myriad of policy considerations went into assuring the water supply at Camp Lejeune

             and later addressing the contamination of the water supply.




                   191
                          See Doc. No. [141], at 21.
                   192
                          See Rich v. United States, 811 F.3d 140, 147 (5th Cir. 2015) (“The
             Second Circuit has acknowledged that discretionary conduct cannot be grounded in
             a policy decision when that conduct is marked by individual carelessness or laziness.
             See Coulthurst v. United States, 214 F.3d 106 (2d Cir. 2000) (concluding that the
             discretionary function exception would not apply to a prison official’s inspection of
             faulty weight equipment that caused plaintiff’s injuries if that inspection was
             performed in a ‘carelessly inattentive’ manner).”).
                                                       71
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                   Furthermore, it is clear that decisions whether to warn are full of implications

             for policy concerns. In Sanchez ex rel. D.R.-S. v. United States,193 the court

             considered the claims of residents of the Puerto Rican island of Vieques that the

             Department of the Navy was negligent in failing to warn them of the dangers of

             contamination from decades of ammunition use on the island. The court found that

             the Navy’s decisions in this area were discretionary. The court distinguished cases

             of “obvious health hazards” or “easily-correctable danger from environmental

             effects” and found in contrast that the policy issues as to the accumulated ammunition

             were significant because the Navy had to “weigh competing interests between secrecy

             and safety, national security and public health.”194 In reaching this conclusion, the

             court relied on cases from the Ninth and D.C. Circuits which held that decisions

             concerning pollution disclosures by the military were covered by the discretionary

             function exception.195 Even more specifically applicable to the facts here, the


                   193
                          671 F.3d 86 (1st Cir. 2012).
                   194
                          Id. at 100 (quotation and citation omitted).
                   195
                          Id. at 101 (citing Loughlin v. United States, 393 F.3d 155 (D.C. Cir.
             2004) (holding government’s decision to bury toxic World War I munitions under
             neighborhood without public disclosure subject to policy considerations); In re
             Consol. U.S. Atmospheric Testing Litig., 820 F.2d 982 (9th Cir. 1987) (same
             outcome where government did not disclose radiation dangers from military testing
             program)); see also Slappey v. U.S. Army Corps of Eng’rs, 571 F. App’x 855 (11th
             Cir. 2014) (“Indeed, we’ve repeatedly held that an agency’s decision whether to
             warn, and how to warn, implicates policy concerns for purposes of the discretionary
                                                      72
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             Sanchez court cited to numerous cases which “hold that the government’s decision

             whether to warn about the presence of toxins, carcinogens, or poisons falls under the

             discretionary function exception to the FTCA’s waiver of sovereign immunity.”196


             function analysis. See, e.g., [U.S.] Aviation Underwriters[, Inc.], 562 F.3d [1297],
             1300 [(11th Cir. 2009)] (decision whether to warn pilots of severe clear air
             turbulence); Monzon v. United States, 253 F.3d 567, 572 (11th Cir. 2001) (decision
             whether to warn of rip currents)”).
                   196
                           See Sanchez, 671 F.3d at 101-02 (“Ross v. United States, 129 F. App’x
             449 (10th Cir. 2005) (discretionary function exception applied to Air Force’s decision
             whether and how to warn neighbors of contamination of ground water by
             trichloroethylene buried by Air Force); Savary v. United States, No. CV–95–07752,
             1999 WL 1178956 (9th Cir. Dec. 14, 1999) (per curiam) (table case) (Jet Propulsion
             Laboratory’s failure to issue warnings to its employees regarding dangers of exposure
             to soil and groundwater contaminated by hazardous materials fell under the
             discretionary function exception because the decision to make such a warning
             required judgments balancing the magnitude of risk associated with contamination
             with the risks and burdens of a public warning program); Minns v. United States, 155
             F.3d 445, 450 (4th Cir. 1998) (military’s decision whether to warn veterans about
             dangers of inoculations or exposure to pesticides fell under discretionary function
             exception, and ‘questioning the military’s decision’ would create a ‘court-intrusion
             problem’); Maas v. United States, 94 F.3d 291, 297 (7th Cir. 1996) (Air Force’s
             decision not to warn veterans of cancer dangers associated with cleaning up crash site
             of bomber carrying nuclear weapons fell under discretionary function exception:
             ‘[d]eciding whether health risks justify the cost of a notification program, and
             balancing the cost and the effectiveness of a type of warning, are discretionary
             decisions’); Angle v. United States, No. 95–1015, 1996 WL 343531, at *3 (6th Cir.
             June 20, 1996) (per curiam) (table case) (Air Force’s decision not to warn occupants
             of base housing of lead paint contamination fell under discretionary function
             exception: the Air Force ‘had to balance the potential effectiveness of a general
             warning against the possibility that such a warning might cause unfounded fears’);
             Daigle v. Shell Oil Co., 972 F.2d 1527 (10th Cir. 1992) (Army’s failure to warn
             residents that cleanup of nearby toxic waste dump could cause exposure to waste fell
             under discretionary function exception because procedures implementing cleanup
             implicated policy considerations underlying CERCLA response actions).”
                                                      73
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                   The Plaintiffs point to the fact that the Government became aware of elevated

             levels of contaminants in the early 1980s. The Government Accounting Office

             (GAO) study Activities Related to Past Drinking Water Contamination at Marine

             Corps Base Camp Lejeune (May 2007) discussed the first testing of the water supply

             at the base in 1980.197 The first test lead to additional testing and the understanding

             in 1982 and 1983 that TCE and PCE were the contaminants.198 The Report notes that

             further testing was not done at that time because the EPA had not yet identified

             standard acceptable levels for TCE and PCE in a water supply and variations in the

             test results raised questions about the tests’ validity.199 It was in 1984 and 1985 as

             part of the Navy NACIP program that the volatile organic contamination was

             confirmed and the wells removed from service.200 Loughlin notes that a “decision to

             engage in further study to determine the appropriate” levels is “based on public policy

             considerations, including the socio-political and economic implications of

             recognizing an action level in one situation that could not be consistently applied.”201

             This is particularly noteworthy here where there is no dispute that the early to mid-

                   197
                          See Doc. No. [62], Ex. 7, at 20-29.
                   198
                          Id.
                   199
                          Id.
                   200
                          Id.
                   201
                          393 F.3d at 165.
                                                       74
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             1980s was a period of scientific advancement in the understanding of the dangers of

             these types of pollutants.202 None of this discussion relates to the merits of the

             Plaintiffs’ allegations that the Government was negligent in its provision of water at

             Camp Lejeune. Rather, the court holds that the supply of safe water on a military

             base is a function rife with discretion and the decisions involved are the type the

             discretionary function doctrine is designed to protect.

                           3.     Remaining Claims



                    202
                           Even in the absence of BUMEDs, the Plaintiffs argue that the court
             should apply a North Carolina statute concerning a continuing duty to maintain
             premises and inspect for leaking fuel tanks to their negligence claim. The Plaintiffs
             contend that North Carolina law imposes on “every person who enters upon an active
             course of conduct the positive duty to exercise ordinary care to protect others from
             harm and calls a violation of that duty negligence.” See Doc. No. [70], at 44-45
             (citing Quail Hollow E. Condo. Ass’n v. Donald J Scholz Co., et. al., 47 N.C. App.
             518, 522, 268 S.E.2d 12, 15 (1980)). The Plaintiffs contend that base personnel
             violated this duty when they issued a notice that stated only trace amounts of several
             organic chemicals had been found in the water supply. See Doc. No. [70], at 44-45
             (citing Ex. 15 (1985 notice to residents of Tarawa Terrace about limited water
             supply). But, as the court explained above, the inquiry here is focused on whether
             there is any mandatory federal statute or regulation that provides mandatory guidance
             to Government agents, and not any state law that might provide a standard for
             negligence liability. It is not clear to the court whether the Plaintiffs point to this state
             statute for the purposes of substantive liability or for the purpose of demonstrating
             that the Government officials here did not have any discretion in their actions because
             they were mandated by North Carolina law. If it is the former, the court discusses
             below that its ruling on the discretionary function exception bars such claims based
             on state law claims. If it is the latter, a state statute cannot be the “specifically
             prescribed course of action” the Government officials had to follow. See Zelaya, 781
             F.3d at 1329 (referring to federal statute, regulation, or policy).
                                                          75
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                   Although the parties have focused their briefing on the claims of negligence

             with respect to the contamination itself, as well as a failure to warn, the court’s

             analysis applies equally to all other claims proposed by the Plaintiffs. For example,

             Plaintiff Bryant’s proposed first amended complaint adds the following claims: (1)

             negligence per se based on BUMEDs, (2) negligence per se based on federal and

             North Carolina safe drinking water acts, (3) negligence per se based on the deficient

             notice of warning sent by the Internal Revenue Service on September 1, 2008, (4)

             loss of consortium under Georgia law, (5) wrongful death and loss of consortium

             under North Carolina law, (6) negligent breach of the duty to warn, (7) negligent

             infliction of emotional distress under North Carolina law, (8) Fifth Amendment Due

             Process, (9) Fourteenth Amendment Equal Protection, (10) negligent breach of

             warranty or merchantability based on the sale of drinking water in North Carolina,

             (11) nuisance, and (12) trespass.203

                   The proposed amended complaint by Plaintiff Estate of Grace Wright is not as

             specific in the claims it intends to bring. Rather, the Plaintiff simply lists categories

             of alleged duties without specific reference to statute or obligation.204 In any event,




                   203
                          See Doc. No. [164].
                   204
                          See Doc. Nos. [126] and [130].
                                                        76
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             the Plaintiff claims: (1) “violation” of BUMED 6240.3 (and other regulations), (2)

             duty to warn, and (3) “willful and wanton negligence.”

                   As the court explained above, the Federal Tort Claims Act grants federal

             jurisdiction to these claims under § 1346(b)(1) which provides:

                   Subject to the provisions of chapter 171 of this title [i.e., 28 U.S.C. §§
                   2671–2680], the district courts ... shall have exclusive jurisdiction of
                   civil actions on claims against the United States, for money damages,
                   accruing on and after January 1, 1945, for injury or loss of property, or
                   personal injury or death caused by the negligent or wrongful act or
                   omission of any employee of the Government while acting within the
                   scope of his office or employment, under circumstances where the
                   United States, if a private person, would be liable to the claimant in
                   accordance with the law of the place where the act or omission
                   occurred.205

             This is why Zelaya explains that “FTCA was enacted to provide redress to injured

             individuals for ordinary torts recognized by state law but committed by federal

             employees.”206 But the discretionary function exception provides:

                   (a) Any Claim based upon an act or omission of an employee of the
                   Government, exercising due care, in the execution of a statute or
                   regulation, whether or not such statute or regulation be valid, or based
                   upon the exercise or performance or the failure to exercise or perform
                   a discretionary function or duty on the part of a federal agency or an
                   employee of the Government, whether or not the discretion involved be
                   abused.207


                   205
                         28 U.S.C. § 1346(b)(1).
                   206
                         See 781 F.3d at 1323.
                   207
                         28 U.S.C. § 2680(a).
                                                      77
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             Thus, the discretionary function exception applies to “any claim based upon an act

             or omission” of a government employee with respect to the “execution” of a statute

             or the “performance or the failure to exercise or perform a discretionary function or

             duty” on the part of a Government agency or employee. The court finds this language

             covers all remaining claims made or proposed by the Plaintiffs.

                   Additionally, Plaintiff Bryant proposes two federal constitutional claims, the

             first of which is a due process claim in which she contends that the Government

             violated Mr. Bryant’s due process rights by failing to abide by the BUMEDs, the

             Base Orders, the Federal Safe Drinking Water Act, and the North Caroline Safe

             Drinking Water Act.208 The second is an equal protection claim described as the

             Government’s “fail[ure] or refus[al] to provide Mr. Bryant with the protections from

             contaminated drinking water afforded to him under military, federal, and state law.”209

                   In her proposed amended complaint, the Plaintiff names only the United States

             as a defendant. However, claims for damages against the United States for violation

             of constitutional rights are “barred by the doctrine of sovereign immunity.”210 For


                   208
                          See Doc. No. [164], ¶¶ 173-78.
                   209
                          Id., ¶¶ 179-83.
                   210
                           Boda v. United States, 698 F.2d 1174, 1176 (11th Cir. 1983); see also
             FDIC v. Meyer, 510 U.S. 471, 485 (1994) (“[W]e implied a cause of action against
             federal officials in Bivens in part because a direct action against the Government was
             not available.”) (emphasis in original); McMahon v. Presidential Airways, Inc., 502
                                                       78
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             this reason alone, the court dismisses Plaintiff Bryant’s attempt at alleging

             constitutional claims.

                   Moreover, in addition to the fact that Plaintiff Bryant’s claim is barred by

             sovereign immunity because it is brought only against the United States, Plaintiff

             Bryant has not alleged sufficient facts to show that the Government’s conduct here

             “shocks the conscience” so as to state a claim for a due process violation if the

             Plaintiff were to amend her claim to bring a Bivens action against individual

             defendants. Typically, substantive due process claims are raised by individuals who

             are “in custody.”211 In the event, however, that the Plaintiffs here could still raise a

             substantive due process claim, it must be “conscience shocking.”212 In Waddell, the

             plaintiffs filed a substantive due process claim against various government officials

             arising out of an automobile accident caused by a former county jail inmate who had

             been released early to work as a confidential informant for the county and the DEA.

             The court undertook a review of the substantive due process clause by noting that:

                   [w]e must take seriously the Supreme Court’s caution against expanding
                   the concept of substantive due process. . . . The Due Process Clause


             F.3d 1331, 1334-35 (11th Cir. 2007) (“government has immunity by default”).
                   211
                          See generally Collins v. City of Harker Heights, 503 U.S. 115 (1992).

                   212
                          See Waddell v. Hendry Cnty. Sheriff’s Office, 329 F.3d 1300 (11th Cir.
             2003).
                                                       79
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                   was intended to prevent government officials from abusing their power,
                   or employing it as an instrument of oppression. The substantive
                   component of the Due Process Clause protects individual liberty against
                   certain government actions regardless of the fairness of the procedures
                   used to implement them. But the Fourteenth Amendment must not be
                   used through section 1983 as a font of tort law to convert state tort
                   claims into federal causes of action.213

             “Thus, conduct by a government actor will rise to the level of a substantive due

             process violation only if the act can be characterized as arbitrary or conscience

             shocking in a constitutional sense.”214 The Eleventh Circuit has also noted that the:

                   Supreme Court has acknowledged that “the measure of what is
                   conscience-shocking is no calibrated yard stick.” We know for certain,
                   however, that a showing of negligence is insufficient to make out a
                   constitutional due process claim. And even intentional wrongs seldom
                   violate the Due Process Clause. Acts “intended to injure in some way
                   unjustifiable by any government interest” are “most likely to rise to the
                   conscience-shocking level.” But, even conduct by a government actor
                   that would amount to an intentional tort under state law will rise to the
                   level of a substantive due process violation only if it also “shocks the
                   conscience.”215

             In a non-custodial setting, “a substantive due process violation, would, at the very

             least, require showing of deliberate indifference to an extremely great risk of serious

             injury to someone in Plaintiff’s position.”216


                   213
                          Id. at 1304-05 (quotations and citations omitted).
                   214
                          Id. at 1305.
                   215
                          Id. (citations omitted).
                   216
                          Id. at 1306.
                                                       80
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                      In Dacosta v. Nwachukwa,217 the court reiterated that the “[s]ubstantive due

             process doctrine is not a ‘font of tort law to be superimposed upon whatever systems

             may already be administered by the States.’”218 “Indeed, substantive rights ‘created

             only by state law (as is the case with tort law and employment law) are not subject

             to substantive due process protection . . . because substantive due process rights are

             created only by the Constitution.’”219 “Conduct by a government actor that would

             amount to an intentional tort under state law would only rise to the level of a

             substantive due process violation if it ‘shocks the conscience’ or interferes with rights

             ‘implicit in the concept of ordered liberty’ – in other words, only if it affects

             individual rights guaranteed, explicitly or implicitly, by the Constitution itself.”220


                      217
                            304 F.3d 1045 (11th Cir. 2002).
                      218
                            Id. at 1048 (quoting Paul v. Davis, 424 U.S. 693, 701 (1976)).
                      219
                            Id. (quoting McKinney v. Pate, 20 F.3d 1550, 1556 (11th Cir. 1994) (en
             banc).
                      220
                           Id. (quoting United States v. Salerno, 481 U.S. 739, 746 (1987)); see
             also T.W. ex rel. Wilson v. School Bd. of Seminole Cnty., 610 F.3d 588, 598 (11th
             Cir. 2010) (“Due Process Clause protects individuals against arbitrary exercises of
             government power, but ‘only the most egregious official conduct can be said to be
             arbitrary in the constitutional sense.’” . . . .“Conduct intended to injure in some way
             unjustifiable by any government interest is the sort of official action most likely to
             rise to conscience-shocking level.”); Nix v. Franklin Cnty. Sch. Dist., 311 F.3d 1373,
             1376 (11th Cir. 2002) (“Acts that fall between the poles of negligence and malign
             intent require courts to make ‘closer calls.’”. . . .“When shaping the contours of due-
             process law, the [Supreme] Court has often emphasized the need to prevent the
             Fourteenth Amendment from becoming a surrogate for conventional tort
                                                        81
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             The Plaintiffs here allege negligence, but there are no sufficient facts in the Plaintiffs’

             complaints to “shock the conscience.”

                    Plaintiff Bryant also has not offered any basis for why Mr. Bryant is entitled

             to protection under the Equal Protection Clause. To raise a disparate treatment claim

             under the federal Equal Protection Clause, a plaintiff must allege that (1) he is

             similarly situated with other persons who were treated differently and (2) the

             difference in treatment was based on a constitutionally protected interest.221 Plaintiff

             Bryant has not articulated any constitutionally protected interest upon which the

             treatment of Mr. Bryant was allegedly based.

                    A plaintiff may also allege a “classification” Equal Protection claim.222 Courts

             recognize a subset of the classification cases known as “class of one” Equal




             principles.”).
                    221
                           See, e.g., Personnel Adm’r of Mass. v. Feeney, 442 U.S. 256, 279
             (1979).
                    222
                             See, e.g., City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 446-47
             (1985) (Equal Protection Clause requires State to treat all persons similarly situated
             alike or to avoid all classifications that are “arbitrary or irrational” and reflect “bare
             . . . desire to harm a politically unpopular group”); Lofton v. Secretary of Dep’t of
             Children & Family Servs., 358 F.3d 804, 817 (11th Cir. 2004) (“The central mandate
             of the equal protection guarantee is that ‘[t]he sovereign may not draw distinctions
             between individuals based solely on differences that are irrelevant to a legitimate
             governmental objective.’”).
                                                         82
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             Protection cases.223 In Olech, the Court stated that “[o]ur cases have recognized

             successful equal protection claims brought by a ‘class of one,’ where the plaintiff

             alleges that she has been intentionally treated differently from others similarly

             situated and that there is no rational basis for the difference in treatment.”224 In

             Griffin, for example, the court considered (but ultimately rejected) a claim by a

             property owner who requested a connection to the municipal water supply and was

             told she would need to give the city an easement but where she claimed that other

             property owners getting a connection were not required to give an easement.225 It also

             does not appear that Plaintiff Bryant is asserting a classification or “class-of-one”

             equal protection claim because there is no allegation that the Government acted

             against Mr. Bryant based on characteristics unique to him.

                   For the foregoing reasons, the court finds the discretionary function exception

             applies to the provision of a water supply at Camp Lejeune and therefore bars the

             Plaintiffs’ negligence and related state law claims regarding the alleged

             contamination of the water supply. The court GRANTS the Government’s motion




                   223
                          See, e.g., Griffin Indus., Inc. v. Irvin, 496 F.3d 1189, 1200-01 (11th Cir.
             2007) (citing Village of Willowbrook v. Olech, 528 U.S. 562 (2000)).
                   224
                          See 528 U.S. at 564-65.
                   225
                          See 496 F.3d at 1203-07.
                                                       83
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             to dismiss on the basis of the discretionary function exception [62] and GRANTS the

             Government’s motion to dismiss [127].

                   D.     Remaining Procedural Requests

                   The Plaintiffs ask that the court establish (1) a Steering Committee, (2) set a

             schedule for the filing of an Administrative Master Complaint, an answer by the

             Government, and discovery. The court previously found that due to the relatively

             small number of complaints filed in the MDL, it was not necessary at the origination

             of the MDL to file a Master Complaint.226 The court stated that after the resolution

             of the Feres and discretionary function exception issues, the court “will establish a

             procedure, if necessary, for the filing of an Administrative Master Complaint and

             assertion of defenses.”227

                   Now that the court has considered all of the allegations in the Plaintiffs’

             complaints and proposed amended complaints, and has determined that the Plaintiffs

             cannot move forward, there is no need for any further proceedings. Furthermore, the

             court DENIES AS MOOT the Government’s motion for order relating to the

             preservation of documents and electronically stored information [37].

                   E.     Pro Se Motions



                   226
                          See Doc. No. [24], at 6.
                   227
                          Id. at 7.
                                                      84
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                   Three individual plaintiffs have been filing pro se motions with the court. To

             address some of these motions, it is necessary to review prior rulings made by the

             court in the early stages of this litigation. On October 19, 2011, the court entered an

             order staying “any deadline the Government has to file a responsive pleading (such

             as an answer or motion to dismiss) in any case that is transferred to the Multidistrict

             Litigation while the parties are conducting discovery and briefing on the threshold

             jurisdictional issues.”228 As the court was still addressing jurisdictional issues in this

             latest order, the Government’s obligation to file responsive pleadings has still been

             stayed.

                   On October 17, 2013, the Judicial Panel on Multidistrict Litigation transferred

             the case of Johnston v. Administrator, Environmental Protection Agency, Civil

             Action No. 3:13-CV-10995 (S.D. W.Va.) to the MDL.229 Shortly thereafter, Mr.

             Johnston filed a motion to amend complaint.230 The purpose of his proposed

             amendment is to increase the monetary relief sought from $5,000,000 to $10,000,000

             due to a recent diagnosis of renal cancer. Because the court has determined that the




                   228
                          See Doc. No. [21].
                   229
                          See Doc. No. [94].
                   230
                          See Doc. No. [97].
                                                        85
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             Plaintiffs’ claims cannot go forward, the court DENIES AS MOOT Plaintiff

             Johnston’s motion to amend [97].

                   Mr. James Douse filed a complaint in the Northern District of Georgia. On

             August 8, 2012, the court transferred that complaint to the Multidistrict Litigation.231

             On August 19, 2015, the court denied Mr. Douse’s “motion for an indicative ruling”

             as the issues referenced by Mr. Douse in that motion at that time were pending on

             appeal before the Eleventh Circuit.232 Mr. Douse filed a motion for reconsideration

             of that order. In his motion for reconsideration, Mr. Douse references the injuries

             suffered by him and his family allegedly due to water contamination at Camp

             Lejeune. Mr. Douse’s motion for reconsideration addresses several of the same

             arguments made by other Plaintiffs as to the statute of repose and the issue of

             negligence under the Federal Tort Claims Act. For the same reasons as the court has

             given above, the court DENIES Mr. Douse’s motion for reconsideration [117].

                   Mr. Douse also filed a motion to amend his complaint. In that motion, Mr.

             Douse states he wishes to amend his complaint to add the statement of Secretary of

             the Department of Veterans Affairs Bob McDonald concerning the ATSDR report on

             contamination of drinking water at Camp Lejeune, as well as several points of



                   231
                          See Doc. No. [86].
                   232
                          See Doc. No. [116].
                                                       86
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             procedural history in the litigation. Mr. Douse also alleges that the Government

             committed “fraud” by hiding the contamination of the drinking water at Camp

             Lejeune. He also adds arguments similar to those he raised in his motion for

             reconsideration. For the same reasons as given above, the court DENIES AS MOOT

             Mr. Douse’s motion to amend complaint [123].

                   Mr. Douse files a motion for punitive and exemplary damages due to the fact

             that the Government attached Mr. Douse’s administrative complaint to the

             Government’s opposition to Mr. Douse’s motion to amend. Mr. Douse claims the

             attachment of the administrative file is a violation of the Health Insurance Portability

             and Accountability Act (“HIPAA”) and thus he is entitled to punitive and exemplary

             damages. The Government responds that the attachment of the entire file was

             inadvertent. The Government also notes that it requested that the Clerk’s Office place

             Mr. Douse’s administrative complaint under seal and this has been done. The court

             finds that any exposure of information was inadvertent and for only a brief period of

             time. Therefore, the court DENIES Plaintiff Douse’s motion for punitive and

             exemplary damages [143]; and DENIES Plaintiff Douse’s motion for additional

             award of damages, for relief based on Bivens, and for a protective order [156].

                   Mr. Andrew Straw has filed several motions for default judgment contending

             that the Government has not answered his complaint. However, as the court


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             explained above, when this Multidistrict Litigation case was opened, the court made

             several procedural rulings to streamline the litigation. Significant to Mr. Straw’s

             motions, the court directed the Government’s obligation to answer the Plaintiffs’

             complaints was stayed until the court resolved the threshold legal issues discussed in

             this order. The court also limited discovery to only two issues – the Feres doctrine

             and the discretionary function exception. No other discovery was permitted until the

             court resolved the threshold issues it addressed above. Under the terms of the Case

             Management Order, the Government is not required to answer any Requests for

             Admission propounded by any Plaintiff. For this reason, the court DENIES Plaintiff

             Straw’s motion for clerk’s entry of default [121]; DENIES Plaintiff Straw’s fourth

             motion for clerk’s entry of default [169]; GRANTS the Government’s motion for a

             protective order [172]; and DENIES Plaintiff Straw’s first motion for clerk’s entry

             of default [178].

                   Mr. Straw also filed a motion for permanent injunction, but this motion appears

             to address current conditions at Camp Lejeune and Mr. Straw is not a current resident.

             Thus, he does not have standing to seek any relief with respect to current conditions

             at Camp Lejeune. The court DENIES Plaintiff Straw’s motion for permanent

             injunction [165]. Finally, Mr. Straw asks that the court refund his $400 filing fee in




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             this case because he has not received any justice.233 But Mr. Straw did not originally

             file this suit in the Northern District of Georgia; he filed it in the District Court for

             the Northern District of Illinois. Moreover, he also states that courts have denied him

             in forma pauperis status and have determined that the cases he has filed are frivolous.

             Dissatisfaction with the rulings of the court is not a sufficient basis for seeking refund

             of a filing fee. The court DENIES Plaintiff Straw’s motion for refund and further

             relief [192].

                    F.       Summary

                    The court has determined that it must follow the binding precedent of Bryant

             and concludes that the Plaintiffs’ claims are barred by the ten-year statute of repose

             under North Carolina law. Even if the claims were not barred by the statute of

             repose, the court also finds that any claims by service members that accrued during

             their time as service members are barred by the Feres doctrine. Finally, the court also

             finds that there were no mandatory specific directives in the form of federal statute

             or regulations which removed discretion from government actors regarding the water

             supply at Camp Lejeune, and decisions relating to the disposal of contaminants, the

             provision of water on the base, and whether any base inhabitant should be warned are




                    233
                             See Doc. No. [192].
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             policy based decisions and the discretionary function exception applies, barring the

             Plaintiffs’ claims.

                   Plaintiff Rivera contends that none of these rulings applies to his case because

             it was not transferred to the MDL until February 4, 2016, after the Government filed

             its latest motion to dismiss.234 The court notes that in its first Case Management

             Order, it stated that the order would “govern the practice and procedure in any tag-

             along actions transferred to this court by the Judicial Panel on Multidistrict

             Litigation.”235 But the court did not make any specific order as to whether substantive

             rulings on common issues would also control the tagalong cases.

                   Under the present circumstances, however, the court finds that the rulings it

             made here do apply to Plaintiff Rivera. As an initial matter, Plaintiff Rivera is

             represented by the same counsel that represents Plaintiff Wright; and Plaintiff Rivera

             adopted the arguments of Plaintiff Wright in response to the Government’s most

             recent motions. Accordingly, Plaintiff Rivera did have an opportunity to respond.

             Furthermore, much of what the court has ordered here is a reflection of binding

             authority rendered by the United States Supreme Court and the Eleventh Circuit.

             Nothing Plaintiff Rivera argues now can change that binding precedent. The court



                   234
                          See Doc. No. [159].
                   235
                          See Doc. No. [16], at 1.
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             rejected above an argument that allegations of fraud and concealment would toll the

             statute of repose. As to the discretionary function and Feres rulings, the court ordered

             a specific discovery period and directed that the period of discovery would not be re-

             opened for later filed tagalong cases.236 Thus, there cannot be new information from

             Plaintiff Rivera that would alter the court’s conclusions as to the Feres doctrine and

             the discretionary function exception.

                   Although the court grants the Government’s motions to dismiss, the court must

             also address the manner in which the cases should be dismissed. A dismissal with

             prejudice applies to all claims disposed of under North Carolina’s statute of repose,

             as well as the Feres doctrine. The dismissal under the discretionary function

             exception requires more detailed discussion. When the discretionary function

             exception applies, the court is without subject matter jurisdiction. The Eleventh

             Circuit has held that a “dismissal for lack of subject matter jurisdiction is not a

             judgment on the merits and is entered without prejudice.”237 The Ninth Circuit,

                   236
                          See Doc. No. [24], ¶ 2.
                   237
                           See, e.g., Stalley ex rel. United States v. Orlando Reg’l Healthcare Sys.,
             Inc., 524 F.3d 1229 (11th Cir. 2008); Stanley v. Central Intelligence Agency, 639
             F.2d 1146, 1157 (5th Cir. 1981) (internal citations omitted) (“[w]hen a court must
             dismiss a case for lack of jurisdiction, the court should not adjudicate the merits of
             the claim”); see also Ashford v. United States, 463 F. App’x 387, 395-96 (5th Cir.
             2012) (holding that dismissal under discretionary function exception of FTCA on
             jurisdictional grounds and therefore is without prejudice and not judgment on merits);
             Hart v. United States, 630 F.3d 1085, 1091 (8th Cir. 2011) (same).
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             however, has recognized that the discretionary function exception has its roots in the

             sovereign immunity of the United States Government. Therefore, in Frigard v.

             United States,238 the court held that “[o]rdinarily, a case dismissed for lack of subject

             matter jurisdiction should be dismissed without prejudice so that a plaintiff may

             reassert his claims in a competent court, . . . however, the bar of sovereign immunity

             is absolute: no other court has the power to hear the case, nor can the [plaintiffs]

             redraft their claims to avoid the exceptions to the FTCA. Thus, the district court did

             not abuse its discretion in dismissing the action with prejudice.”239 The Eleventh

             Circuit touched on this issue in Zelaya, where it noted that the court has always

             considered issues of § 2680 to be jurisdictional, but noted as well that “we also

             recognize that in its recent jurisprudence, the Supreme Court has become more

             reluctant, when sanctioning the dismissal of some claims, to base its rejection on

             jurisdictional grounds, as opposed to a deficiency in the merits of the claim.”240 But




                   238
                          862 F.2d 201 (9th Cir. 1988).
                   239
                          Id. at 204 (citation omitted).
                   240
                           781 F.3d at 1339; see also Parrott v. United States, 536 F.3d 629, 634
             (7th Cir. 2008) (holding exceptions to United States’ waiver of sovereign immunity,
             found in § 2680(a)-(n), “limit the breadth of the Government’s waiver of sovereign
             immunity, but they do not accomplish this task by withdrawing subject-matter
             jurisdiction from the federal courts”).
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             the viability of this theory might be in some doubt as a result of Simmons v.

             Himmelreich.241

                   There are additional concerns in this case that are unique. As the court

             explained above, this Multidistrict Litigation was established to handle all complaints

             filed concerning contamination of the water supply at Camp Lejeune. The court

             determined that certain threshold legal issues had to be addressed before proceeding

             to any extensive discovery or further development of the merits of the cases. Various

             courts have taken over five years to address those threshold issues and have reached

             the conclusion that CERCLA’s statute of limitations period does not preempt North

             Carolina’s statute of repose and that the statute of repose does not contain an

             exception for latent disease claims. Now, this court has also held that to the extent

             any claims remain after those rulings, the Government’s actions with respect to the

             water supply at Camp Lejeune are covered by the discretionary function exception

             to the Federal Tort Claims Act. As explained above, the resulting lack of subject

             matter jurisdiction is a consequence of sovereign immunity and is not a situation

             where another court would potentially have subject-matter jurisdiction over the

             Plaintiffs’ claims. Furthermore, the court has already considered all of the allegations

             raised by the Plaintiffs in their latest proposed amendments. Thus, there is no further

                   241
                         ___ U.S. ___, 136 S. Ct. 1843 (2016) (holding FTCA’s judgment bar
             does not apply to cases decided under discretionary function exception).
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             amendment to the Plaintiffs’ complaints that would potentially allow this court – or

             any other – to exercise subject matter jurisdiction over the Plaintiffs’ claims. Thus,

             although the court dismisses without prejudice under the discretionary function

             exception due to Eleventh Circuit precedent, for all practical purposes, there is no

             other forum where the Plaintiffs could bring these claims without meeting the same

             sovereign immunity obstacle under the discretionary function exception.

                   The court must now determine what remains to be done in this Multidistrict

             Litigation. The Government argues that once the court has determined it does not

             have subject matter jurisdiction over the Plaintiffs’ claims, the court should dismiss

             the pending cases. The Plaintiffs respond that the appropriate action is remand of the

             cases back to the transferor courts.242

                   Under § 1407, “[e]ach action so transferred shall be remanded by the panel at

             or before the conclusion of such proceedings to the district from which it was

             transferred unless it shall have been previously terminated.”243 The court has

             terminated the causes of action and therefore, there is no need to recommend to the




                   242
                          This transfer is distinguished from the Plaintiffs’ prior argument that the
             court should engage in a jurisdictional or venue-based transfer – an argument the
             court rejected above.
                   243
                          28 U.S.C. § 1407.
                                                       94
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             Judicial Panel that the cases be sent back to the originating districts. The rules of the

             Judicial Panel state that:

                    Where the transferee district court terminates an action by valid order,
                    including but not limited to summary judgment, judgment of dismissal
                    and judgment upon stipulation, the transferee district court clerk shall
                    transmit a copy of that order to the Clerk of the Panel. The terminated
                    action shall not be remanded to the transferor court and the transferee
                    court shall retain the original files and records unless the transferee
                    judge or the Panel directs otherwise.244

             Accordingly, the court terminates this action without a suggestion of remand.

             III.   Conclusion

                    The court DENIES AS MOOT the Government’s motion for order relating

             to the preservation of documents and electronically stored information [37];

             GRANTS the Government’s motion to dismiss [61]; GRANTS the Government’s

             motion to dismiss for lack of subject-matter jurisdiction [62]; DENIES AS MOOT

             the Plaintiffs’ motion for oral argument [72]; DENIES AS MOOT Plaintiff Bryant’s

             motion to amend complaint [77]; DENIES AS MOOT the Plaintiffs’ motion for

             extension of time to complete discovery and to stay [83]; DENIES AS MOOT

             Plaintiff Johnston’s pro se motion to amend [97]; DENIES Plaintiff Douse’s pro se

             motion for reconsideration [117]; DENIES Plaintiff Straw’s pro se motion for clerk’s

             entry of default [121]; DENIES AS MOOT Plaintiff Douse’s pro se motion to


                    244
                          See Panel Rule 10.1(a).
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             amend [123]; DENIES AS MOOT Plaintiff Wright’s motion to amend complaint

             [126]; GRANTS the Government’s motion to dismiss all cases based on North

             Carolina statute of repose [127]; DENIES Plaintiff Douse’s pro se motion for

             punitive and exemplary damages [143]; DENIES AS MOOT the Government’s

             motion to strike [152]; DENIES Plaintiff Douse’s pro se motion for additional award

             of damages, for relief based on Bivens, and for a protective order [156]; DENIES AS

             MOOT Plaintiff Bryant’s supplemental motion to amend [164]; DENIES Plaintiff

             Straw’s pro se motion for permanent injunction [165]; DENIES Plaintiff Straw’s pro

             se fourth motion for clerk’s entry of default [169]; GRANTS the Government’s

             motion for protective order [172]; DENIES the Plaintiffs’ motion to transfer pursuant

             to 28 U.S.C. § 1631 or motion for conditional suggestion of remand [176]; DENIES

             Plaintiff Straw’s pro se first motion for clerk’s entry of default [178]; DENIES AS

             MOOT the Plaintiffs’ motion for a hearing [188]; and DENIES Plaintiff Straw’s pro

             se motion for refund and further relief [192].

                          The Clerk of the Court is DIRECTED to DISMISS this action.

                          SO ORDERED, this 5 day of December, 2016.



                                                                                 /s/Thomas W. Thrash
                                                                                 THOMAS W. THRASH, JR.
                                                                                 United States District Judge


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